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                        6-Year Fraudulent Conveyancesto Mullaney

    Mullaney Salary andMullaney Bonus Payments

               Payment Date                      Payment Type                       Amount
          Jul-13                Bonus                                                 250,000.00
          Jul-14                Bonus                                                 250,000.00
          Jul-15                Bonus                                                 200,000.00
          Jul-16                Bonus (per Employment Agreement)                      250,000.00
          TOTAL                                                                       950,000.00

    Life Insurance Premium Payments
      Payment Date                      Payment Type                                   Amount
    Jul-13               Bonus                                                           250,000.00
    Jul-14               Bonus                                                           250,000.00
    Jul-15               Bonus                                                           200,000.00
    Jul-16               Bonus (per Employment Agreement)                                250,000.00
    11/12/2014           The US Life Insurance Co.                                              3,735.00
    10/26/2015           The US Life Insurance Co.                                                326.81
    11/14/2015           The US Life Insurance Co.                                                326.81
    12/11/2015           The US Life Insurance Co.                                                326.81
    01/14/2016           The US Life Insurance Co.                                                326.81
    02/13/2016           The US Life Insurance Co.                                                326.81
    03/12/2016           The US Life Insurance Co.                                                326.81
    03/1B/2016           Lincoln National Life Insurance Company                                4,945.03
    09/Z0/2016           Lincoln National Life Insurance Company                                4,945.03
    TOTAL                                                                           6,579.08950,000.00




    Other Expenses
      Payment Date                      Ledger Note                                    Amount
                         Reimbursement of personal expense on AmEx
    10/0B/2014           card 10/2/14                                                         5,994.40
    10/08/2014
    12/31/2014           Reimbursed personal expense                                            180.00
    08/15/2016           Reimbursed out of pocket expenses                                    2,194.00
                         Payment of personal legal bill taken as a deduction from
    8/16/2016            salary                                                                      378.63
                         Payment of personal travel expense taken as a deduction
    10/19/2016           from salary                                                            8,333.33
                         Payment of personal expense taken as a deduction from
    10/31/2016           salary                                                                    500.00
    TOTAL                                                                            11,585.968,368.40

           American Express Expenses
            Payment Date Range                    Payment Type                       Amount
           12/2B/2012 -
           1Z/Z7/2013            American Express                                      154,595.35
           12/28/2013 -
           12/23/2014            American Express                                      129,728.57
           12/24/2014 -
           12/27/2015            American Express                                      133,955.42
           12/28/2015 -
           12/27/2016            American Express                                      117,3 15.62
           TOTAL                                                                       535,594.96
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         Mullaney Legal Fees
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              Payment Date
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                                         Law Firm / Ledger Note    Amount
          12/31/2012         Kaplan & Levenson P.C. / ST complaint                      2,115.50
          1/g/2013           Copilevitz & Canter, LLC / ST complaint                    2,2?i0.00

          1/13/2013          Kaplan & Levenson P.C. /ProfessionaI services ST             309.00
          2/2b/2013          Jones Oay / Legal services through Jan. 31, 2013          34,625.00

          3/ZO/Z013          Jones Day / ST vs Mullaney through Feb. 28, Z013          17,437.84
          4/16/2013          JOnes Day / ST vS Mullaney                                11,308.64
          5/14/2013          Jones Day / ST vs Mullaney                                34,559.72
          6/18/2013          Jones Day / Professional services May 13                  46,604.14
          7/25/2013          Kravet & Vogel, LLP / IT vs FerriS                         8,024.00
                             Kravet & Vogel, LLP / July 13 ST vs Ferris - Subpoena
          8/12/2013          Dispute                                                   17,864.78

          8/15/2013          Jones Day / Legal services through July 31, 2013          17,376.35
          B/21/2013          Jones Oay                                                 82,053.76

          9/11/2013          Jones Day / Legal services through Aug. 31, Z013           1,392.00
                             Kravet & Vogel, LLP / Aug.13 ST vs Ferris - Subpoena
          9/Z0/2013          Dispute                                                    8,212.13
                             Kravet & Vogel, LLP / Sep.13 ST vs Ferris - Subpoena
          10/112013          Dispute                                                    1,482.34
                             KraveE & Vogel, LLP / Oct.13 ST vs Ferris - Subpoena
          11/Z1/2015         Dispute
                             Kravet & Vogel, LLP / Nov.13 ST vs Ferris - Subpoena
          12/03/2013         Dispute Appeal                                            14,478.03
                             Kravet & Vogel, LLP / Dec.13 ST vs Ferris - Subpoena
          1/13/2014          Dispute Appeal                                             3,570.84
                             Kaplan Kravet & Vogel P.C. / Jan.14 Mullaney
          1/31/2014          Subpoena ST v Ferris                                         377.75

          2/28/2014          Kaplan Kravet & Vogel P.C. / Feb.14 ST vs Mullaney         4,216.00
                             Kaplan Kravet & Vagel P.C. / Feb.14 Mullaney
          2/28/2014          Subpoena ST v Ferris                                         485.04

          8/31/2014          Kaplan Kravet & Vogel P.C. / Mar.14 ST vs Mullaney            50.50

          4/30/2014          Kaplan Kravet & Vogel P.C. / Apr.14 ST vs Mullaney           510.00
                             Kaplan Kravet & Vogel P.C. / May 14 Mullaney
          5/31/2014          Subpoena ST v Ferris                                         23B.00

          5/31/2014          Kaplan Kravet & Vogel P.C. / May 14 ST vs Mullaney           676.25
                             Kaplan Kravet & Vogel P.C. / Jun. 14 Mullaney
          6/30/2014          Subpoena ST v Ferris                                         374.00

          6/30/2014          Kaplan Kravet & Vogel P.C. / Jun. 14 ST vs Mullaney        1,115.38
          7/31/2014          Kaplan Kravet & Vogel P.C. / ST vs Mulianey                1,70300
                             Kaplan Kravet & Vogel P.C. / Mullaney subpoena ST
          7/31/2014          vs Ferris                                                  1,423.75
          8/31/2014          Kaplan Kravet & Vogel P.C. / ST vs Mullaney                  136.00
          10/31/2014         Kaplan Kravet & Vogel P.C. / ST vs Mullaney                  580.7Z
          11/30/2014         Kaplan Kravet & Vogel P.C. / ST vs Mullaney                  272.00
          11/30/2014         Kaplan Kravet & Vogel P.C. / ST vs Ferris                    408.00
          2/28/2015          Kaplan Kravet & Vogel P.C. / ST vs Mullaney                1,972.0C
                             Kaplan Kravet & Vogel P.C. / Mullaney Subpoena ST
          2/28/2015          vs Ferris                                                  1,598.00

          7/31/2016          Kaplan Kravet & Vogel P.C. / "One Smile at a Time”           378.63
          TOTAL                                                                      321,199.09




     TOTAL FOR ALL CATEGORIES                                                           $958,368.40
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             6-Year Fraudulent Conveyances Made for the Benefit of Mullaney




                                             2

    Life Insurance Premium Payments
       Payment Date                    Payment Type                    Amount
    11/12/2014        The US Life Insurance Co.                           3,735.00
    10/26/2015        The US Life Insurance Co.                             326.81
    11/14/2015        The US Life Insurance Co.                             326.81
    12/11/2015        The US Life Insurance Co.                             326.81
    01/14/2016        The US Life Insurance Co.                             326.81
    02/13/2016        The US Life Insurance Co.                             326.81
    03/12/2016        The US Life Insurance Co.                             326.81
    03/18/2016        Lincoln National Life Insurance Company             4,945.03
    09/20/2016        Lincoln National Life Insurance Company             4,945.03
     TOTAL                                                               15,585.92



    Mullaney Personal Legal Fees
     Payment Date                Law Firm / Ledger Note                Amount
    12/31/2012      Kaplan & Levenson P.C. / ST complaint                 2,115.50
    1/8/2013        Copilevitz & Canter, LLC / ST complaint               2,250.00
                    Kaplan & Levenson P.C. /Professional services
    1/13/2013       ST                                                          309.00
                    Jones Day / Legal services through Jan. 31,
    2/26/2013       2013                                                      34,625.00
                    Jones Day / ST vs Mullaney through Feb. 28,
    3/20/2013       2013                                                      17,437.84
    4/16/2013       Jones Day / ST vs Mullaney                                11,308.64
    5/14/2013       Jones Day / ST vs Mullaney                                34,559.72
    6/18/2013       Jones Day / Professional services May 13                  46,604.14
    7/25/2013       Kravet & Vogel, LLP / ST vs Ferris                         8,024.00
                    Kravet & Vogel, LLP / July 13 ST vs Ferris -
    8/12/2013       Subpoena Dispute                                          17,864.78

    8/15/2013        Jones Day / Legal services through July 31,              17,376.35
                     2013
    8/21/2013        Jones Day                                                82,053.76
                     Jones Day / Legal services through Aug. 31,
    9/11/2013        2013                                                      1,392.00
                     Kravet & Vogel, LLP / Aug.13 ST vs Ferris -
    9/20/2013        Subpoena Dispute                                          8,212.13
                     Kravet & Vogel, LLP / Sep.13 ST vs Ferris -
    10/21/2013       Subpoena Dispute                                          1,482.34
                     Kravet & Vogel, LLP / Oct.13 ST vs Ferris -
    11/21/2013       Subpoena Dispute                                          1,020.00
                     Kravet & Vogel, LLP / Nov.13 ST vs Ferris -
    12/03/2013       Subpoena Dispute Appeal                                  14,478.03
                     Kravet & Vogel, LLP / Dec.13 ST vs Ferris -
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    1/13/2014        Subpoena Dispute Appeal                                   3,570.84
                     Kaplan Kravet & Vogel P.C. / Jan.14 Mullaney
    1/31/2014        Subpoena ST v Ferris                                       377.75
                     Kaplan Kravet & Vogel P.C. / Feb.14 ST vs
    2/28/2014        Mullaney                                                  4,216.00
                     Kaplan Kravet & Vogel P.C. / Feb.14 Mullaney
    2/28/2014        Subpoena ST v Ferris                                       485.04
                     Kaplan Kravet & Vogel P.C. / Mar.14 ST vs
    3/31/2014        Mullaney                                                     50.50
                     Kaplan Kravet & Vogel P.C. / Apr.14 ST vs
    4/30/2014        Mullaney                                                   510.00
                     Kaplan Kravet & Vogel P.C. / May 14 Mullaney
    5/31/2014        Subpoena ST v Ferris                                       238.00
                     Kaplan Kravet & Vogel P.C. / May 14 ST vs
    5/31/2014        Mullaney                                                   676.25
                     Kaplan Kravet & Vogel P.C. / Jun. 14 Mullaney
    6/30/2014        Subpoena ST v Ferris                                       374.00
                     Kaplan Kravet & Vogel P.C. / Jun. 14 ST vs
    6/30/2014        Mullaney                                                  1,115.38

    7/31/2014        Kaplan Kravet & Vogel P.C. / ST vs Mullaney               1,703.00
                     Kaplan Kravet & Vogel P.C. / Mullaney
    7/31/2014        subpoena ST vs Ferris                                     1,423.75

    8/31/2014        Kaplan Kravet & Vogel P.C. / ST vs Mullaney                136.00

    10/31/2014       Kaplan Kravet & Vogel P.C. / ST vs Mullaney                580.72

    11/30/2014       Kaplan Kravet & Vogel P.C. / ST vs Mullaney                272.00
    11/30/2014       Kaplan Kravet & Vogel P.C. / ST vs Ferris                  408.00

    2/28/2015        Kaplan Kravet & Vogel P.C. / ST vs Mullaney               1,972.00
                     Kaplan Kravet & Vogel P.C. / Mullaney
    2/28/2015        Subpoena ST vs Ferris                                     1,598.00
                     Kaplan Kravet & Vogel P.C. / "One Smile at a
    7/31/2016        Time"                                                   378.63
    TOTAL                                                               321,199.09
             6-Year Fraudulent Conveyances Made for the Benefit of Mullaney

    Mullaney Personal Legal Fees
     Payment Date                Law Firm / Ledger Note                Amount
    12/31/2012      Kaplan & Levenson P.C. / ST complaint                 2,115.50
    1/8/2013        Copilevitz & Canter, LLC / ST complaint               2,250.00
                    Kaplan & Levenson P.C. /Professional services
    1/13/2013       ST                                                          309.00
                    Jones Day / Legal services through Jan. 31,
    2/26/2013       2013                                                      34,625.00
                    Jones Day / ST vs Mullaney through Feb. 28,
    3/20/2013       2013                                                      17,437.84
    4/16/2013       Jones Day / ST vs Mullaney                                11,308.64
    5/14/2013       Jones Day / ST vs Mullaney                                34,559.72
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    6/18/2013       Jones Day / Professional services May 13        46,604.14
    7/25/2013       Kravet & Vogel, LLP / ST vs Ferris               8,024.00
                    Kravet & Vogel, LLP / July 13 ST vs Ferris -
    8/12/2013       Subpoena Dispute                                17,864.78

    8/15/2013       Jones Day / Legal services through July 31,     17,376.35
                    2013
    8/21/2013       Jones Day                                       82,053.76
                    Jones Day / Legal services through Aug. 31,
    9/11/2013       2013                                             1,392.00
                    Kravet & Vogel, LLP / Aug.13 ST vs Ferris -
    9/20/2013       Subpoena Dispute                                 8,212.13
                    Kravet & Vogel, LLP / Sep.13 ST vs Ferris -
    10/21/2013      Subpoena Dispute                                 1,482.34
                    Kravet & Vogel, LLP / Oct.13 ST vs Ferris -
    11/21/2013      Subpoena Dispute                                 1,020.00
                    Kravet & Vogel, LLP / Nov.13 ST vs Ferris -
    12/03/2013      Subpoena Dispute Appeal                         14,478.03
                    Kravet & Vogel, LLP / Dec.13 ST vs Ferris -
    1/13/2014       Subpoena Dispute Appeal                          3,570.84
                    Kaplan Kravet & Vogel P.C. / Jan.14 Mullaney
    1/31/2014       Subpoena ST v Ferris                              377.75
                    Kaplan Kravet & Vogel P.C. / Feb.14 ST vs
    2/28/2014       Mullaney                                         4,216.00
                    Kaplan Kravet & Vogel P.C. / Feb.14 Mullaney
    2/28/2014       Subpoena ST v Ferris                              485.04
                    Kaplan Kravet & Vogel P.C. / Mar.14 ST vs
    3/31/2014       Mullaney                                             50.50
                    Kaplan Kravet & Vogel P.C. / Apr.14 ST vs
    4/30/2014       Mullaney                                          510.00
                    Kaplan Kravet & Vogel P.C. / May 14 Mullaney
    5/31/2014       Subpoena ST v Ferris                              238.00
                    Kaplan Kravet & Vogel P.C. / May 14 ST vs
    5/31/2014       Mullaney                                          676.25
                    Kaplan Kravet & Vogel P.C. / Jun. 14 Mullaney
    6/30/2014       Subpoena ST v Ferris                                 374.00
                    Kaplan Kravet & Vogel P.C. / Jun. 14 ST vs
    6/30/2014       Mullaney                                         1,115.38

    7/31/2014       Kaplan Kravet & Vogel P.C. / ST vs Mullaney      1,703.00
                    Kaplan Kravet & Vogel P.C. / Mullaney
    7/31/2014       subpoena ST vs Ferris                            1,423.75

    8/31/2014       Kaplan Kravet & Vogel P.C. / ST vs Mullaney          136.00

    10/31/2014      Kaplan Kravet & Vogel P.C. / ST vs Mullaney          580.72

    11/30/2014      Kaplan Kravet & Vogel P.C. / ST vs Mullaney          272.00
    11/30/2014      Kaplan Kravet & Vogel P.C. / ST vs Ferris            408.00

    2/28/2015       Kaplan Kravet & Vogel P.C. / ST vs Mullaney      1,972.00
                    Kaplan Kravet & Vogel P.C. / Mullaney
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    2/28/2015        Subpoena ST vs Ferris                                      1,598.00
                     Kaplan Kravet & Vogel P.C. / "One Smile at a
    7/31/2016        Time"                                                       378.63
    TOTAL                                                                   321,199.09
    AmEx Payments
        Date      Amount               Description                 Recovery Sought
    12/31/2012        30.00 AT&T Cell Phone Plan                                   30.00
    01/01/2013        21.76 iTunes purchase                                        21.76
    01/08/2013     2,169.90 Flight - LA to NY                 Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    01/08/2013       2,549.90 Flight - NY to LA               Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    01/09/2013           3.26 iTunes purchase                                       3.26
    01/11/2013          21.62 WSJ Subscription                                     21.62
    01/11/2013       3,000.00 Donation - Lincoln Center                         3,000.00
                              Development Membership


    01/11/2013         404.61 Mr. C Hotels - LA, 1 night      Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
    01/14/2013         206.94 AT&T Cell Phone Plan                                 206.94
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    01/19/2013        838.88 Hyatt Hotels, Chicago, 1 night Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/21/2013          3.26   iTunes purchase                                        3.26
    01/26/2013        298.30   Marriott, Boston, 1 night                            298.30
    01/30/2013         30.00   AT&T Cell Phone Plan                                  30.00
    01/31/2013         45.00   Parking Fees NY                                       45.00
    02/01/2013         21.76   iTunes purchase                                       21.76
    02/11/2013         21.62   WSJ Subscription                                      21.62
    02/12/2013         43.00   Parking Fees NY                                       43.00
    02/14/2013        179.11   AT&T Cell Phone Plan                                 179.11
    02/23/2013          3.26   iTunes purchase                                        3.26
    02/27/2013        363.42   Flight - to Delhi to Varanasi   Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    02/27/2013      5,543.44 Flight - NY to India              Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    03/01/2013         30.00 AT&T Cell Phone Plan                                   30.00
    03/01/2013         21.76 iTunes purchase                                        21.76
    03/02/2013      3,771.43 Apple Online Store                                  3,771.43
    03/04/2013         53.00 Communication Arts                                     53.00
                             Magazine
                             Subscription
    03/04/2013      3,358.70 Flight - London to India          Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
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                                                            expert discovery.
    03/04/2013      5,372.20 Flight - NY to London (ST UK                       5,372.20
                             lawsuit trip)
    03/07/2013        119.81 Taxi - Heathrow Airport Taxi                        119.81

    03/08/2013        713.37 Corinthia Hotel, London                             713.37
    03/08/2013         94.26 Electronics Store - Dixons                           94.26
                             Travel, Heathrow Airport
    03/08/2013        135.74 Taxi - London Taxi                                  135.74
    03/09/2013          9.99 iTunes purchase                                       9.99
    03/09/2013          9.99 iTunes purchase                                       9.99
    03/09/2013         11.96 iTunes purchase                                      11.96
    03/09/2013         12.98 iTunes purchase                                      12.98
    03/11/2013         21.62 WSJ Subscription                                     21.62
    03/12/2013      1,573.98 Hyatt Regency, Kolkata, India, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    03/13/2013        598.48 Radisson Blu Hotel, Ranchi,    Amount corresponding to
                             India, 1 night,                benefit that Mullaney
                             accommodations for             received over and above
                             Mullaney, Greenwood, and       reasonably equivalent
                             Atkinson                       value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    03/14/2013        178.51 AT&T Cell Phone Plan                                178.51
    03/15/2013      1,598.43 Hotel Taj Ganges, Varanasi,    Amount corresponding to
                             India, 1 night,                benefit that Mullaney
                             accommodations for             received over and above
                             Mullaney, Greenwood, and       reasonably equivalent
                             Atkinson                       value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    03/15/2013        644.74 Taj Mahal Hotel, Mumbai,       Amount corresponding to
                             India, 1 night,                benefit that Mullaney
                             accommodations for             received over and above
                             Mullaney, Greenwood, and       reasonably equivalent
                             Atkinson                       value to Debtor to be
                                                            determined by additional
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                                                              discovery, including
                                                              expert discovery.
    03/20/2013          3.26   iTunes purchase                                       3.26
    03/29/2013        258.08   Frame & Art Gallery                                 258.08
    03/31/2013         30.00   AT&T Cell Phone Plan                                 30.00
    04/02/2013         21.76   iTunes purchase                                      21.76
    04/05/2013         43.00   Parking Fees NY                                      43.00
    04/08/2013         40.00   Parking Fees NY                                      40.00
    04/11/2013         21.62   WSJ Subscription                                     21.62
    04/12/2013         52.00   Parking Fees NY                                      52.00
    04/13/2013        525.93   Westin Copley Place, Boston,   Amount corresponding to
                               1 night                        benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    04/14/2013        515.91 AT&T Cell Phone Plan                               515.91
    04/15/2013        200.93 Restaurant - La Fonda Del Sol                      200.93
                             NY
    04/17/2013         21.76 iTunes purchase                                     21.76
    04/19/2013         43.87 The Charles Hotel,            Amount corresponding to
                             Cambridge, MA, room service benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    04/19/2013         55.64 The Charles Hotel,          Amount corresponding to
                             Cambridge, MA, room service benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    04/19/2013        440.93 The Charles Hotel,               Amount corresponding to
                             Cambridge, MA, 1 night           benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
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                                                       expert discovery.
    04/23/2013          3.26   iTunes purchase                                3.26
    04/30/2013         30.00   AT&T Cell Phone Plan                          30.00
    05/01/2013         21.76   iTunes purchase                               21.76
    05/09/2013        108.86   iTunes purchase                              108.86
    05/11/2013         21.62   WSJ Subscription                              21.62
    05/12/2013         48.00   Parking Fees NY                               48.00
    05/14/2013        178.87   AT&T Cell Phone Plan                         178.87
    05/14/2013      2,543.80   Flight - NY to LA       Amount corresponding to
                                                       benefit that Mullaney
                                                       received over and above
                                                       reasonably equivalent
                                                       value to Debtor to be
                                                       determined by additional
                                                       discovery, including
                                                       expert discovery.


    05/18/2013         21.76   iTunes purchase                              21.76
    05/18/2013         65.31   iTunes purchase                              65.31
    05/23/2013          3.26   iTunes purchase                               3.26
    05/29/2013          8.13   iTunes purchase                               8.13
    05/30/2013         30.00   AT&T Cell Phone Plan                         30.00
    05/30/2013      1,013.41   Balboa Bay Club,        Amount corresponding to
                               Newport Beach, CA, 2    benefit that Mullaney
                               nights                  received over and above
                                                       reasonably equivalent
                                                       value to Debtor to be
                                                       determined by additional
                                                       discovery, including
                                                       expert discovery.


    05/30/2013        565.31 Hertz - rental car, LA,   Amount corresponding to
                             5/27/13- 5/30/13          benefit that Mullaney
                                                       received over and above
                                                       reasonably equivalent
                                                       value to Debtor to be
                                                       determined by additional
                                                       discovery, including
                                                       expert discovery.
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    05/31/2013        448.46 Mr. C Hotels - LA, 1 night     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/01/2013         21.76 iTunes purchase                                     21.76
    06/05/2013        401.10 Rental Car - Hertz Manhattan   Amount corresponding to
                             to Norwalk CT,                 benefit that Mullaney
                             6/4/13-6/5/13 for meeting at   received over and above
                             Sebonack golf course           reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/11/2013         21.62   WSJ Subscription                                   21.62
    06/15/2013        171.59   AT&T Cell Phone Plan                              171.59
    06/15/2013        164.13   Restaurant - Chef Luis                            164.13
    06/15/2013        914.46   The Liberty Hotel, Boston,   Amount corresponding to
                               1 night                      benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/17/2013        360.61 Flight - Boston to NY          Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/20/2013         44.99 The Liberty Hotel,             Amount corresponding to
                             Boston, room service           benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
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                                                              expert discovery.
    06/25/2013        238.00 Amtrak - Mullaney commute                             238.00

    06/29/2013         30.00 AT&T Cell Phone Plan                                   30.00
    07/02/2013         21.76 iTunes purchase                                        21.76
    07/02/2013          5.99 Refinery Hotel - Mullaney                               5.99
                             weekly NY hotel
    07/02/2013        396.80 Refinery Hotel - Mullaney                             396.80
                             weekly NY hotel
    07/02/2013         45.00 Parking Fees RI                                        45.00
    07/05/2013        185.00 Amtrak - Mullaney commute                             185.00

    07/05/2013         84.99 Best Buy                                               84.99
    07/09/2013         69.49 Cross Sound Ferry, New                                 69.49
                             London, CT
    07/09/2013         71.00 Parking Fees NY                                        71.00
    07/10/2013         30.00 Parking Fees MA                                        30.00
    07/10/2013         17.69 The Carlton, Mullaney weekly                           17.69
                             NY hotel
    07/10/2013        300.71 The Carlton, Mullaney weekly                          300.71
                             NY hotel
    07/10/2013        866.70 The White Barn Inn, 2 nights                          866.70

    07/10/2013      1,043.25 The White Barn Inn, 2 nights                         1,043.25

    07/11/2013         21.62   WSJ Subscription                                     21.62
    07/14/2013         51.00   Parking Fees NY                                      51.00
    07/14/2013        141.54   AT&T Cell Phone Plan                                141.54
    07/15/2013        495.15   Blue Man Group Tickets                              495.15
    07/16/2013        553.20   Langham Place, Mullaney                             553.20
                               weekly NY hotel
    07/18/2013        150.76   Boston Duck Tours                                   150.76
    07/22/2013         15.46   Hudson News, Boston, MA                              15.46
    07/22/2013          9.00   Parking fees - MA                                     9.00
    07/22/2013        378.86   W Boston Dining                                     378.86
    07/23/2013        172.66   Hurricane Restaurant                                172.66
    07/23/2013         44.00   Taj Boston Hotel - Boston,                           44.00
                               MA,
                               room service
    07/23/2013        318.96   Taj Boston Hotel - Boston,                          318.96
                               MA,
                               1 night
    07/24/2013        233.14   Pier 77 Restaurant                                  233.14
    07/25/2013         43.18   The White Barn Inn, 2 nights                         43.18

    07/25/2013      1,060.24 The White Barn Inn, 2 nights                         1,060.24

    07/25/2013      1,195.82 The White Barn Inn, 2 nights                         1,195.82

    07/26/2013          5.43 iTunes purchase                                         5.43
    07/26/2013        244.00 Amtrak - Mullaney commute                             244.00

    07/29/2013         30.00 AT&T Cell Phone Plan                                   30.00
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    07/31/2013         60.00 Parking Fees RI                                  60.00
    07/31/2013        553.20 Langham Place, Mullaney NY                      553.20
                             NYC
    08/01/2013         21.76 iTunes purchase                                  21.76
    08/02/2013        300.00 Amtrak - Mullaney commute                       300.00

    08/07/2013      1,148.78 Langham Place, Mullaney NY                    1,148.78
                             NYC
    08/09/2013        300.00 Amtrak - Mullaney commute                       300.00

    08/11/2013         21.62 WSJ Subscription                                 21.62
    08/14/2013        178.67 AT&T Cell Phone Plan                            178.67
    08/14/2013         62.26 Restaurant - Frank and                           62.26
                             Johnnies, NY
    08/14/2013      1,010.00 Metropolitan Opera Tickets                    1,010.00
    08/14/2013        106.00 Parking Fees NY                                 106.00
    08/15/2013        859.80 Langham Place, Mullaney                         859.80
                             weekly NY hotel
    08/15/2013         53.00 Parking Fees NY                                  53.00
    08/23/2013        332.00 Amtrak - Mullaney commute                       332.00

    08/26/2013         13.03 iTunes purchase                                  13.03
    08/26/2013         14.12 iTunes purchase                                  14.12
    08/28/2013         30.00 AT&T Cell Phone Plan                             30.00
    08/28/2013        624.17 Langham Place, Mullaney                         624.17
                             weekly NY hotel
    08/28/2013         42.00 Parking Fees MA                                   42.00
    08/29/2013        576.90 Flight - Boston to LA        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    08/29/2013      1,504.90 Flight - LA to Boston        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    08/30/2013      6,416.67 Flight - Boston to Mumbai    Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
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                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    08/30/2013        515.65 Flight - Calcutta to Mumbai   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    08/30/2013        876.80 Flight - Dubai to Calcutta    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/01/2013         21.76 iTunes purchase                                  21.76
    09/06/2013        294.00 Amtrak - Mullaney commute                       294.00

    09/06/2013        136.95 Hertz, rental car, LA,        Amount corresponding to
                             9/5/13- 9/6/13                benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/07/2013        340.48 Balboa Bay Club,              Amount corresponding to
                             Newport Beach, CA, 1          benefit that Mullaney
                             night                         received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/07/2013         24.00 Mr. C Hotels - LA             Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
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                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    09/07/2013        345.42 Mr. C Hotels - LA, 1 night    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/11/2013         22.99   WSJ Subscription                                22.99
    09/11/2013         42.00   Parking Fees MA                                 42.00
    09/14/2013        171.49   AT&T Cell Phone Plan                           171.49
    09/15/2013        294.00   Amtrak - Mullaney commute                      294.00

    09/17/2013      1,624.00 Flight - Boston to            Amount corresponding to
                             Mumbai, India trip            benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/17/2013        202.27 Foto Care, Camera Cleaning                       202.27
                             Service, NY
    09/17/2013        508.72 Langham Place, Mullaney                          508.72
                             weekly NY hotel
    09/17/2013         28.00 Parking Fees MA                                    28.00
    09/20/2013         10.98 iTunes purchase                                    10.98
    09/22/2013        367.03 ITC Sonar Kolkata, Hotel,     Amount corresponding to
                             India trip, 1 night           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/23/2013         12.41 iTunes purchase                                    12.41
    09/23/2013         28.18 The Fort-A-Radisson,          Amount corresponding to
                             Kolkata, India                benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
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                                                             discovery, including
                                                             expert discovery.
    09/24/2013         42.10 Swissotel, hotel, India         Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    09/24/2013        320.31 Swissotel, hotel, India, 1 night Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    09/25/2013         16.32 iTunes purchase                                      16.32
    09/25/2013        162.00 Parking Fees MA, Airport,       Amount corresponding to
                             India Trip                      benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    09/25/2013        379.34 Sofitel - hotel, London                            379.34
    09/27/2013         30.00 AT&T Cell Phone Plan                                30.00
    09/27/2013        360.61 Mullaney Commute, flight                           360.61
                             from
                             Boston to NY
    09/27/2013      2,206.30 Flight - NY to Houston          Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    09/30/2013         51.37 Restaurant - Carlyle Food and                       51.37
                             Beverage NY
    09/30/2013          0.99 Boston Globe Subscription                            0.99
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    10/01/2013        401.18 Langham Place, Mullaney                              401.18
                             weekly NY hotel
    10/02/2013         27.75 iTunes purchase                                       27.75
    10/02/2013         81.00 Parking Fees MA                                       81.00
    10/04/2013        370.00 Amtrak - Mullaney commute                            370.00

    10/04/2013        269.00 Flight - fee for ticket not used                     269.00

    10/10/2013      1,146.54 Langham, Mullaney NY Hotel                         1,146.54

    10/10/2013         56.00   Parking Fees MA                                     56.00
    10/11/2013         22.99   WSJ Subscription                                    22.99
    10/11/2013      6,804.60   Flight - Boston to London                        6,804.60
    10/14/2013        171.56   AT&T Cell Phone Plan                               171.56
    10/14/2013         15.96   Boston Globe Subscription                           15.96
    10/16/2013        256.00   Amtrak - Mullaney commute                          256.00

    10/17/2013        238.90 Flight - NY to Boston, London                        238.90
                             trip
    10/17/2013        450.00 Flight - London to NY, London                        450.00
                             trip
    10/17/2013         45.00 Flight fees - London                                  45.00
    10/18/2013        142.29 Taxi - Heathrow Taxi Service                         142.29

    10/18/2013        856.49   Langham Hotel, London                              856.49
    10/19/2013         81.00   Parking fees MA                                     81.00
    10/20/2013          4.34   iTunes purchase                                      4.34
    10/23/2013        764.36   Langham, Mullaney NY Hotel                         764.36

    10/23/2013         42.00   Parking Fees MA                                     42.00
    10/24/2013         21.75   iTunes purchase                                     21.75
    10/25/2013      6,288.50   Flight - Boston to London                        6,288.50
    10/25/2013         47.78   Flight fees - London                                47.78
    10/26/2013        313.00   Amtrak - Mullaney commute                          313.00

    10/27/2013         30.00 AT&T Cell Phone Plan                                  30.00
    10/30/2013        764.36 Langham Place - Mullaney                             764.36
                             weekly NY hotel
    10/30/2013         42.00 Parking Fees MA                                       42.00
    11/01/2013        293.00 Amtrak - Mullaney commute                            293.00

    11/01/2013      4,955.53 Flight - Boston to Delhi           Amount corresponding to
                                                                benefit that Mullaney
                                                                received over and above
                                                                reasonably equivalent
                                                                value to Debtor to be
                                                                determined by additional
                                                                discovery, including
                                                                expert discovery.


    11/01/2013         21.76 iTunes purchase                                       21.76
    11/06/2013        764.36 Langham Place - Mullaney                             764.36
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                             weekly NY hotel
    11/06/2013         42.00 Parking Fees MA                                 42.00
    11/07/2013         14.00 Parking Fees MA                                 14.00
    11/08/2013        218.00 Amtrak - Mullaney commute                      218.00

    11/11/2013         22.99 WSJ Subscription                                22.99
    11/11/2013         15.96 Boston Globe Subscription                       15.96
    11/13/2013        796.58 Langham Place - Mullaney                       796.58
                             weekly NY hotel
    11/13/2013         42.00 Parking Fees MA                                 42.00
    11/14/2013        418.26 AT&T Cell Phone Plan                           418.26
    11/15/2013        275.00 Amtrak - Mullaney commute                      275.00

    11/15/2013        928.93 Flight - Delhi to Varanasi   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    11/20/2013        336.00 Amtrak - Mullaney commute                      336.00

    11/20/2013        764.36 Langham Place - Mullaney                       764.36
                             weekly NY hotel
    11/20/2013         42.00 Parking Fees MA                                 42.00
    11/24/2013         21.75 iTunes purchase                                 21.75
    11/25/2013        237.00 Amtrak - Mullaney commute                      237.00

    11/26/2013         30.00 AT&T Cell Phone Plan                            30.00
    11/27/2013        772.36 Langham Place - Mullaney                       772.36
                             weekly NY hotel
    11/27/2013         42.00 Parking Fees MA                                 42.00
    11/30/2013        336.00 Amtrak - Mullaney commute                      336.00

    12/03/2013      7,262.80 Flight - Boston to Zurich    Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    12/05/2013         37.00 Amtrak - Mullaney commute                       37.00

    12/05/2013      1,146.54 Langham Place - Mullaney                     1,146.54
                             weekly NY hotel
    12/05/2013         56.00 Parking Fees MA                                 56.00
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    12/07/2013        223.00 Amtrak - Mullaney commute                          223.00

    12/09/2013         15.96 Boston Globe Subscription                           15.96
    12/11/2013         22.99 WSJ Subscription                                    22.99
    12/11/2013        772.36 Langham Place - Mullaney                           772.36
                             weekly NY hotel
    12/11/2013         42.00 Parking Fees MA                                     42.00
    12/13/2013        185.00 Amtrak - Mullaney commute                          185.00

    12/13/2013        763.30 Flight - Odessa to Dallas      Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/13/2013      1,572.30 Flight - NY to Houston         Amount corresponding to
                             to Odessa                      benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/14/2013        171.25 AT&T Cell Phone Plan                                171.25
    12/16/2013        501.90 Flight - Boston to Delhi       Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/17/2013        253.25 Apple Store, upgraded iPhone                       253.25

    12/17/2013        382.18 Langham Place - Mullaney                           382.18
                             weekly NY hotel
    12/18/2013        104.94 Enterprise Rent a Car,         Amount corresponding to
                             Houston trip, car rental,      benefit that Mullaney
                             12/18/13                       received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
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                                                             expert discovery.
    12/18/2013         79.62 Taxi - Houston                  Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    12/18/2013         44.00 Taxi - Houston                  Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    12/19/2013        333.43 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/24/2013        370.00 Amtrak - Mullaney commute                         370.00

    12/26/2013         30.00 AT&T Cell Phone Plan                               30.00
    12/27/2013        237.00 Amtrak - Mullaney commute                         237.00

    12/27/2013        382.18 Langham Place - Mullaney                          382.18
                             weekly NY hotel
    12/27/2013         28.00 Parking Fees MA                                    28.00
    12/28/2013         41.44 Apple Online Store, computer                       41.44
                             equipment
    12/30/2013        987.06 Apple Online Store, computer                      987.06
                             equipment
    01/02/2014         25.00 Taxi                                               25.00
    01/03/2014        243.33 Hertz - rental car from NY to                     243.33
                             Boston, 1/3/14, Mullaney
                             commute
    01/03/2014        273.17 Langham Place - Mullaney                          273.17
                             weekly NY hotel
    01/03/2014         28.00 Parking Fees MA                                    28.00
    01/06/2014        237.00 Amtrak - Mullaney commute                         237.00
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    01/06/2014         15.96 Boston Globe Subscription                        15.96
    01/08/2014         69.18 Taxi - Switzerland          Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/08/2014        671.37 Sofitel - hotel, London     Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/09/2014        255.44 Flight - to Switzerland     Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/09/2014         99.40 Flight - Zurich to Boston   Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/09/2014         81.00 Parking Fees MA                                 81.00
    01/11/2014         22.99 WSJ Subscription                                22.99
    01/13/2014        272.15 Park Avenue Liquor, NY                         272.15
    01/14/2014        203.28 AT&T Cell Phone Plan                           203.28
    01/15/2014        546.34 Langham Place - Mullaney                       546.34
                             weekly NY hotel
    01/17/2014        274.00 Amtrak - Mullaney commute                      274.00

    01/17/2014        332.00 Amtrak - Mullaney commute                      332.00
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    01/22/2014         18.00 Amtrak - Mullaney commute                        18.00

    01/22/2014        274.00 Amtrak - Mullaney commute                       274.00

    01/23/2014        277.17 Langham Place - Mullaney                        277.17
                             weekly NY hotel
    01/23/2014         28.00 Parking Fees MA                                  28.00
    01/24/2014         47.40 Blue on Highland, MA                             47.40
                             restaurant
    01/25/2014         30.00 AT&T Cell Phone Plan                             30.00
    01/26/2014        239.25 I Trulli, NY restaurant                         239.25
    01/27/2014        273.17 Langham Place - Mullaney                        273.17
                             weekly NY hotel
    01/27/2014         28.00 Parking Fees MA                                   28.00
    01/28/2014      1,780.50 Flight - Boston to Houston   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/29/2014        207.71 Sofitel - hotel, London      Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/01/2014      1,295.84 Hotel Imperial, New Delhi,   Amount corresponding to
                             1 night                      benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/03/2014         15.96 Boston Globe Subscription                         15.96
    02/03/2014      1,002.93 Hotel Taj Ganges,            Amount corresponding to
                             Varanasi, India              benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
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                                                         discovery, including
                                                         expert discovery.
    02/05/2014        730.35 The Oberoi Amarvilas,       Amount corresponding to
                             Agra, India, 1 night        benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/06/2014        243.00 Parking fees MA             Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/06/2014        581.17 The Oberoi Amarvilas,       Amount corresponding to
                             Agra, India, 1 night        benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/07/2014        313.00 Amtrak - Mullaney commute                     313.00

    02/11/2014         22.99 WSJ Subscription                               22.99
    02/12/2014        546.34 Langham Place - Mullaney                      546.34
                             weekly NY hotel
    02/12/2014         42.00 Parking Fees MA                                42.00
    02/13/2014        128.00 Amtrak - Mullaney commute                     128.00

    02/13/2014        274.00 Amtrak - Mullaney commute                     274.00
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    02/13/2014        443.00 Flight - LA to Boston          Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/13/2014      2,217.00 Flight - NY to LA              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/14/2014        286.41 AT&T Cell Phone Plan                                286.41
    02/19/2014        273.17 Langham Place - Mullaney                            273.17
                             weekly NY hotel
    02/19/2014        442.97 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/21/2014        293.00 Amtrak - Mullaney commute                          293.00

    02/21/2014         35.00 Parking Fees MA                                     35.00
    02/24/2014         37.00 Amtrak - Mullaney commute                           37.00

    02/24/2014         30.00 AT&T Cell Phone Plan                                30.00
    02/25/2014        119.07 Frankie and Johnnies, NY                           119.07
                             restaurant
    02/26/2014        546.34 Langham Place - Mullaney                           546.34
                             weekly NY hotel
    02/26/2014         42.00 Parking Fees MA                                     42.00
    02/27/2014        185.00 Amtrak - Mullaney commute                          185.00

    03/03/2014         15.96 Boston Globe Subscription                           15.96
    03/05/2014        546.34 Langham Place - Mullaney                           546.34
                             weekly NY hotel
    03/05/2014        108.86 Office 365 - Mullaney Home                         108.86
                             Office
    03/06/2014         47.64 Shade Hotel, Manhattan         Amount corresponding to
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                              Beach, CA, 1 night          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
    03/06/2014        510.94 Shade Hotel, Manhattan       Amount corresponding to
                             Beach, CA, 1 night           benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/07/2014        330.00 Amtrak - Mullaney commute                      330.00

    03/07/2014        362.37 Hertz - rental car, LA       Amount corresponding to
                             trip, 3/5/14-3/7/14          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/07/2014      2,415.00 Flight - LA to Boston        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/07/2014         78.84 Viceroy Seaside, Santa       Amount corresponding to
                             Monica, CA, hotel, 1 night   benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/07/2014        464.91 Viceroy Seaside, Santa       Amount corresponding to
                             Monica, CA, hotel, 1 night   benefit that Mullaney
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                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.
    03/08/2014        139.46 Boston Coach, taxi from train                        139.46
                             station home
    03/11/2014         22.99 WSJ Subscription                                     22.99
    03/12/2014         20.00 Amtrak - Mullaney commute                            20.00

    03/13/2014        590.34 Langham Place - Mullaney                            590.34
                             weekly NY hotel
    03/13/2014         14.00 Parking Fees MA                                      14.00
    03/14/2014        441.94 AT&T Cell Phone Plan                                441.94
    03/22/2014        293.00 Amtrak - Mullaney commute                           293.00

    03/26/2014         30.00 AT&T Cell Phone Plan                                 30.00
    03/27/2014        554.34 Langham Place - Mullaney                            554.34
                             weekly NY hotel
    03/27/2014         38.00 Parking Fees MA                                      38.00
    03/27/2014         42.00 Parking Fees MA                                      42.00
    03/28/2014         28.00 Parking Fees MA                                      28.00
    03/29/2014        350.00 Amtrak - Mullaney commute                           350.00

    03/31/2014         15.96 Boston Globe Subscription                            15.96
    04/02/2014        554.34 Langham Place - Mullaney                            554.34
                             weekly NY hotel
    04/02/2014         42.00 Parking Fees MA                                      42.00
    04/03/2014        370.00 Amtrak - Mullaney commute                           370.00

    04/08/2014        294.00 Amtrak - Mullaney commute           237.00 ($294.00 minus
                                                                                   $57
                                                                                credit)
    04/08/2014        166.54 Koi Restaurant NY                                  166.54
    04/09/2014        620.34 Langham Place - Mullaney                           620.34
                             weekly NY hotel
    04/09/2014         42.00 Parking Fees MA                                      42.00
    04/11/2014         22.99 WSJ Subscription                                     22.99
    04/11/2014          7.00 Parking Fees MA                                       7.00
    04/12/2014        332.00 Amtrak - Mullaney commute                           332.00

    04/14/2014        163.12 AT&T Cell Phone Plan                                163.12
    04/16/2014        652.00 Langham Place - Mullaney                            652.00
                             weekly NY hotel
    04/16/2014         42.00 Parking Fees MA                                      42.00
    04/18/2014        332.00 Amtrak - Mullaney commute                           332.00

    04/23/2014        669.21 Langham Place - Mullaney                            669.21
                             weekly NY hotel
    04/23/2014         42.00 Parking Fees MA                                      42.00
    04/25/2014         30.00 AT&T Cell Phone Plan                                 30.00
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    04/26/2014        350.00 Amtrak - Mullaney commute                      350.00

    04/28/2014         15.96 Boston Globe Subscription                       15.96
    04/30/2014        667.47 Langham Place - Mullaney                       667.47
                             weekly NY hotel
    04/30/2014         27.00 Parking Fees MA                                  27.00
    04/30/2014         42.00 Parking Fees MA                                  42.00
    05/01/2014         28.00 Parking Fees MA                                  28.00
    05/01/2014        707.00 Flight - Boston to LA       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    05/01/2014      2,216.00 Flight - LA to NY           Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    05/02/2014        294.00 Amtrak - Mullaney commute                      294.00

    05/07/2014        390.50 Langham Place - Mullaney                       390.50
                             weekly NY hotel
    05/07/2014         28.00 Parking Fees MA                                 28.00
    05/08/2014         18.00 Parking Fees MA                                 18.00
    05/09/2014        294.00 Amtrak - Mullaney commute                      294.00

    05/11/2014         22.99 WSJ Subscription                                22.99
    05/12/2014        203.31 Frankie and Johnnies, NY                       203.31
                             restaurant
    05/12/2014      2,087.55 Hob Knob Inn, MA                             2,087.55
    05/12/2014      2,438.40 Hob Knob Inn, MA                             2,438.40
    05/13/2014        273.17 Langham Place - Mullaney                       273.17
                             weekly NY hotel
    05/13/2014         28.00 Parking Fees MA                                 28.00
    05/14/2014        161.49 AT&T Cell Phone Plan                           161.49
    05/14/2014         27.00 Parking Fees MA                                 27.00
    05/16/2014        370.00 Amtrak - Mullaney commute                      370.00

    05/20/2014         57.90 Frankie and Johnnies, NY                        57.90
                             restaurant
    05/22/2014        969.97 Langham Place - Mullaney                       969.97
                             weekly NY hotel
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    05/22/2014         56.00   Parking Fees MA                                    56.00
    05/25/2014         30.00   AT&T Cell Phone Plan                               30.00
    05/26/2014         15.96   Boston Globe Subscription                          15.96
    05/27/2014        169.00   Steamship Authority, ferry                        169.00
    05/28/2014        383.89   Balboa Bay Club,             Amount corresponding to
                               Newport Beach, CA, 1         benefit that Mullaney
                               night                        received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/29/2014        302.24 Hertz - rental car, LA,        Amount corresponding to
                             5/27/14- 5/29/14               benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/30/2014        273.17 Langham Place - Mullaney                           273.17
                             weekly NY hotel
    05/30/2014        460.98 Mr. C's Hotel, LA, 1 night     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/31/2014        313.00 Amtrak - Mullaney commute                          313.00

    06/04/2014        600.00 Hob Knob Inn, MA                                   600.00
    06/04/2014        652.53 Langham Place - Mullaney                           652.53
                             weekly NY hotel
    06/04/2014         42.00 Parking Fees MA                                     42.00
    06/11/2014         22.99 WSJ Subscription                                    22.99
    06/14/2014        161.49 AT&T Cell Phone Plan                               161.49
    06/15/2014        370.00 Amtrak - Mullaney commute                          370.00

    06/18/2014        590.34 Langham Place, Mullaney NY                         590.34
                             Hotel
    06/18/2014         42.00 Parking Fees MA                                     42.00
    06/22/2014        109.00 Amtrak - Mullaney commute                          109.00

    06/23/2014         15.96 Boston Globe Subscription                           15.96
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    06/25/2014         25.00 AT&T Cell Phone Plan                               25.00
    06/25/2014      2,581.04 Langham Place - Mullaney       Amount equal to
                             weekly NY hotel(plus MAB       Mullaney's stay.
                             members)
    07/01/2014        273.17 Langham Place - Mullaney                          273.17
                             weekly NY hotel
    07/05/2014        281.00 Amtrak - Mullaney commute                         281.00

    07/09/2014        310.74 Langham Place - Mullaney                          310.74
                             weekly NY hotel
    07/11/2014        281.00 Amtrak - Mullaney commute                         281.00

    07/11/2014         22.99 WSJ Subscription                                   22.99
    07/14/2014        348.98 AT&T Cell Phone Plan                              348.98
    07/15/2014        273.17 Langham Place - Mullaney                          273.17
                             weekly NY hotel
    07/21/2014        364.94 Alchemy - Restaurant MA                           364.94
    07/21/2014         15.96 Boston Globe Subscription                          15.96
    07/21/2014         29.95 Murdick's Fudge                                    29.95
    07/21/2014         50.55 Sharky's Cantina, MA                               50.55
    07/21/2014         41.49 Gas                                                41.49
    07/21/2014         78.00 The Black Dog, MA                                  78.00
    07/22/2014        133.38 Atlantic Restaurant, MA                           133.38
    07/22/2014        401.82 State Road Restaurant, MA                         401.82
    07/23/2014         78.80 Murdick's Fudge                                    78.80
    07/23/2014         35.72 The Seafood Shanty                                 35.72
    07/23/2014        452.50 The Terrace at the Charlotte                      452.50
                             Inn
    07/24/2014         18.07 Hob Knob Inn, MA                                   18.07
    07/24/2014         35.09 Hob Knob Inn, MA                                   35.09
    07/24/2014        297.88 Hob Knob Inn, MA                                  297.88
    07/24/2014         52.00 Steamship Authority, ferry                         52.00
    07/29/2014        364.38 Langham Place - Mullaney                          364.38
                             weekly NY hotel
    08/01/2014        281.00 Amtrak - Mullaney commute                         281.00

    08/04/2014        160.82 Frankie and Johnnies, NY                          160.82
                             restaurant
    08/05/2014        273.17 Langham Place - Mullaney                          273.17
                             weekly NY hotel
    08/08/2014        281.00 Amtrak - Mullaney commute                         281.00

    08/11/2014         22.99 WSJ Subscription                                   22.99
    08/12/2014        380.27 Langham Place - Mullaney                          380.27
                             weekly NY hotel
    08/14/2014        161.61 AT&T Cell Phone Plan                              161.61
    08/17/2014        281.00 Amtrak - Mullaney commute                         281.00

    08/18/2014         15.96 Boston Globe Subscription                          15.96
    08/19/2014        381.36 Langham Place - Mullaney                          381.36
                             weekly NY hotel
    08/22/2014        300.00 Amtrak - Mullaney commute                         300.00
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    08/27/2014        123.00 Amtrak - Mullaney commute                       123.00

    08/27/2014        589.20 Langham Place - Mullaney                        589.20
                             weekly NY hotel
    08/28/2014        866.10 Flight - Boston to Houston   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    08/28/2014      1,054.10 Flight - LA to Boston        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    08/29/2014        332.00 Amtrak - Mullaney commute                       332.00

    09/03/2014        170.61 Frankie and Johnnies, NY                        170.61
                             restaurant
    09/04/2014        861.26 Langham Place - Mullaney                        861.26
                             weekly NY hotel
    09/04/2014         42.00 Parking Fees MA                                   42.00
    09/05/2014        317.60 Flight - Houston to Odessa   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    09/05/2014        473.60 Flight - Odessa to Dallas    Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
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    09/06/2014        350.00 Amtrak - Mullaney commute       313.00 ($350 minus $37
                                                                             credit)
    09/10/2014      2,080.85 Langham Place - Mullaney      Amount equal to
                             weekly NY hotel (plus         Mullaney's stay.
                             dinner)
    09/10/2014         42.00 Parking Fees MA                                    42.00
    09/11/2014         22.99 WSJ Subscription                                   22.99
    09/11/2014        705.60 Flight - Houston to LA        Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/14/2014         30.00   AT&T Cell Phone Plan                            30.00
    09/14/2014        162.32   AT&T Cell Phone Plan                           162.32
    09/15/2014         15.96   Boston Globe Subscription                       15.96
    09/16/2014        377.00   Amtrak - Mullaney commute                      377.00

    09/16/2014        421.23 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    09/19/2014      1,415.00 Mr. C's Hotel, LA, 3 nights   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/23/2014         10.90 Taxi - NY to ICD Board                            10.90
                             Meeting
    09/23/2014        722.42 Refinery Hotel - Mullaney                        722.42
                             Weekly NY Hotel
    09/24/2014        397.32 Langham Place - Mullaney                         397.32
                             weekly NY hotel
    09/24/2014         42.00 Parking Fees MA                                    42.00
    09/25/2014        577.10 Flight - NY to Houston        Amount corresponding to
                                                           benefit that Mullaney
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                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
    09/25/2014      1,183.70 Flight - Odessa to Dallas    Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    09/28/2014        350.00 Amtrak - Mullaney commute                        350.00

    10/01/2014      1,597.29 Langham Place - Mullaney     Amount equal to
                             weekly NY hotel (plus        Mullaney's stay.
                             dinner)
    10/01/2014         42.00 Parking Fees MA                                    42.00
    10/02/2014        104.00 Il Casale, Belmont, MA                            104.00
    10/02/2014      5,890.40 Twin Farms, hotel, 1 night                      5,890.40
    10/03/2014        100.00 Amtrak - Mullaney commute                         100.00

    10/03/2014        122.00 Amtrak - Mullaney commute                        122.00

    10/07/2014        170.00 Amtrak - Mullaney commute                        170.00

    10/07/2014        288.40 Frankie and Johnnies, NY                         288.40
                             restaurant
    10/07/2014         25.14 Omni New Haven Hotel                              25.14
    10/07/2014        189.35 Omni New Haven Hotel, 1                          189.35
                             night
    10/08/2014        794.64 Langham Place - Mullaney                         794.64
                             weekly NY hotel
    10/08/2014         42.00 Parking Fees MA                                   42.00
    10/10/2014      1,040.60 Flight - Odessa to Houston   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    10/10/2014         45.00 Flight fees - Houston        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
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                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    10/11/2014         22.99 WSJ Subscription                                    22.99
    10/13/2014        191.00 Amtrak - Mullaney commute                          191.00

    10/13/2014         15.96 Boston Globe Subscription                          15.96
    10/14/2014         30.00 AT&T Cell Phone Plan                               30.00
    10/14/2014        161.61 AT&T Cell Phone Plan                              161.61
    10/15/2014        492.53 Langham Place - Mullaney                          492.53
                             weekly NY hotel
    10/16/2014        212.69 Budget Rent A Car,            Amount corresponding to
                             Midland, TX,                  benefit that Mullaney
                             10/15/14-10/16/14             received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    10/16/2014         42.00 Parking Fees MA                                    42.00
    10/19/2014        361.00 Amtrak - Mullaney commute                         361.00

    10/20/2014        138.87 Frankie and Johnnies, NY                          138.87
                             restaurant
    10/22/2014        851.01 Langham Place - Mullaney                          851.01
                             weekly NY hotel
    10/22/2014         42.00 Parking Fees MA                                    42.00
    10/24/2014        342.00 Amtrak - Mullaney commute                         342.00

    10/29/2014      1,287.00 Flight - Addis Ababa to Dar   Amount corresponding to
                             Es Salaam, Ethiopia           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    10/29/2014          7.62 Langham Place - Mullaney                            7.62
                             weekly NY hotel
    10/29/2014        940.05 Langham Place - Mullaney                          940.05
                             weekly NY hotel
    10/29/2014      7,216.10 Flight - Boston to Ethiopia   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
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                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.
    10/29/2014         42.00 Parking Fees MA                                   42.00
    11/02/2014        361.00 Amtrak - Mullaney commute                        361.00

    11/06/2014      2,107.76 Langham Place - Mullaney    Amount equal to
                             weekly NY hotel (plus       Mullaney's stay.
                             Dysart dinner and stay)
    11/06/2014         56.00 Parking Fees MA                                  56.00
    11/07/2014        785.21 Perman Wine Selections                          785.21
    11/08/2014        304.00 Amtrak - Mullaney commute                       304.00

    11/10/2014         15.96 Boston Globe Subscription                        15.96
    11/11/2014         24.99 WSJ Subscription                                 24.99
    11/11/2014        401.32 Langham Place - Mullaney                        401.32
                             weekly NY hotel
    11/11/2014         28.00 Parking Fees MA                                  28.00
    11/13/2014         30.00 AT&T Cell Phone Plan                             30.00
    11/14/2014        361.00 Amtrak - Mullaney commute                       361.00

    11/14/2014        161.82 AT&T Cell Phone Plan                            161.82
    11/14/2014        180.00 Twin Farms, hotel                               180.00
    11/17/2014        307.00 Amtrak - Mullaney commute                       307.00

    11/18/2014        637.20 Flight - Odessa to Boston   Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/18/2014        687.10 Flight - NY to Odessa       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/19/2014        837.88 Langham Place - Mullaney                        837.88
                             weekly NY hotel
    11/19/2014         42.00 Parking Fees MA                                  42.00
    11/24/2014        144.04 Frankie and Johnnies, NY                        144.04
                             restaurant
    11/24/2014      8,136.30 Flight - JFK to Zurich      Amount corresponding to
                                                         benefit that Mullaney
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                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    11/25/2014        441.28 Langham Place - Mullaney                           441.28
                             weekly NY hotel
    11/25/2014         28.00 Parking Fees MA                                    28.00
    12/02/2014        898.51 Sheraton Addis Addis Ababa,   Amount corresponding to
                             Ethiopia                      benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    12/03/2014        501.94 Sheraton Addis Addis Ababa,   Amount corresponding to
                             Ethiopia                      benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    12/05/2014         19.00 Amtrak - Mullaney commute                          19.00

    12/05/2014        302.00 Amtrak - Mullaney commute                         302.00

    12/05/2014      1,484.16 Hyatt Regency Dar es          Amount corresponding to
                             Salaam, Ethiopia              benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
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    12/05/2014      3,757.70 Flight - Dar es Salaam to   Amount corresponding to
                             Boston                      benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/08/2014         19.00 Amtrak - Mullaney commute                       19.00

    12/08/2014         15.96 Boston Globe Subscription                       15.96
    12/10/2014        215.63 Frankie and Johnnies, NY                       215.63
                             restaurant
    12/11/2014         24.99 WSJ Subscription                                24.99
    12/11/2014      1,436.09 Langham Place - Mullaney    Amount equal to
                             weekly NY hotel (plus       Mullaney's stay.
                             Atkinson stay)
    12/11/2014         42.00 Parking Fees MA                                 42.00
    12/12/2014        170.00 Amtrak - Mullaney commute                      170.00

    12/13/2014         30.00 AT&T Cell Phone Plan                            30.00
    12/14/2014        166.33 AT&T Cell Phone Plan                           166.33
    12/15/2014         31.12 Taxi - NY to ICD Board                          31.12
                             Meeting
    12/16/2014        443.01 Langham Place - Mullaney                       443.01
                             weekly NY hotel
    12/16/2014          6.99 Flight - NY to Houston      Amount corresponding to
                             to Odessa                   benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/17/2014        251.28 Budget Rent A Car,          Amount corresponding to
                             Midland, TX,                benefit that Mullaney
                             12/16/14-12/17/14           received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/18/2014         32.00 Parking Fees MA                                 32.00
    12/26/2014        264.00 Amtrak - Mullaney commute                      264.00

    12/30/2014        483.94 Langham Place - Mullaney                       483.94
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                             weekly NY hotel
    12/30/2014         28.00 Parking Fees MA                                        28.00
    12/30/2014         28.00 Parking Fees MA                                        28.00
    01/05/2015        400.00 Flight - NY to Zurich             Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    01/05/2015         15.96 Boston Globe Subscription                             15.96
    01/06/2015        284.63 Langham Place - Mullaney                             284.63
                             weekly NY hotel
    01/07/2015         64.29 Taxi - Zurich                     Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    01/07/2015        373.78 Sofitel Hotel, London             Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    01/08/2015         70.35 Taxi - Zurich                     Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    01/11/2015         24.99   WSJ Subscription                                    24.99
    01/12/2015         30.00   AT&T Cell Phone Plan                                30.00
    01/14/2015        285.08   AT&T Cell Phone Plan                               285.08
    01/15/2015      4,196.13   Flight - NY to India for Eve                     4,196.13
                               Claxton, writer of Mullaney's
                               personal book
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    01/15/2015        286.81 Flight - Varanasi to Delhi                      286.81
                             for Eve Claxton, writer of
                             Mullaney's personal book
    01/15/2015        286.81 Flight - Varanasi to Delhi    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/15/2015        406.32 Flight - Delhi to Patna for                     406.32
                             Eve Claxton, writer of
                             Mullaney's personal book
    01/15/2015        406.32 Flight - Delhi to Patna       Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/15/2015      4,987.83 Flight - Boston to Delhi      Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/19/2015        361.00 Amtrak - Mullaney commute                       361.00

    01/23/2015        666.12 Langham Place - Mullaney                        666.12
                             weekly NY hotel
    01/23/2015         42.00 Parking Fees MA                                  42.00
    01/25/2015        304.00 Amtrak - Mullaney commute                       304.00

    01/27/2015        245.00 Amtrak - Mullaney commute                       245.00

    01/28/2015         89.00 Communication Arts                               89.00
                             Magazine
                             Subscription
    01/31/2015        191.00 Amtrak - Mullaney commute                       191.00

    01/31/2015      1,001.68 Langham Place - Mullaney                      1,001.68
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                             weekly NY hotel
    01/31/2015         56.00 Parking Fees MA                                     56.00
    02/01/2015      1,532.10 Flight - LA to Boston          Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/01/2015      2,507.10 Flight - NY to LA              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/02/2015         15.96 Boston Globe Subscription                          15.96
    02/03/2015        324.87 Langham Place - Mullaney                          324.87
                             weekly NY hotel
    02/05/2015        302.00 Amtrak - Mullaney commute                         302.00

    02/05/2015        481.07 Hertz - rental car, LA,        Amount corresponding to
                             2/3/15- 2/5/15                 benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/05/2015         56.00 Parking Fees MA                                     56.00
    02/06/2015         59.95 SLS Hotel Beverly Hills, LA    Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/06/2015      1,232.69 SLS Hotel Beverly Hills, LA,   Amount corresponding to
                             2 nights                       benefit that Mullaney
                                                            received over and above
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                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
    02/09/2015        284.63 Langham Place - Mullaney                              284.63
                             weekly NY hotel
    02/09/2015         28.00 Parking Fees MA                                       28.00
    02/11/2015         30.00 AT&T Cell Phone Plan                                  30.00
    02/11/2015         24.99 WSJ Subscription                                      24.99
    02/13/2015         40.00 Parking Fees MA                                       40.00
    02/14/2015        226.00 Amtrak - Mullaney commute                            226.00

    02/14/2015        382.00 Amtrak - Mullaney commute                            382.00

    02/14/2015        262.93 AT&T Cell Phone Plan                                 262.93
    02/17/2015        281.98 Flight - Orlando to NY, flight                       281.98
                             home from HMS hearings
                             (there were no HMS
                             hearings in Orlando)
    02/18/2015        386.93 Langham Place - Mullaney                             386.93
                             weekly NY hotel
    02/18/2015        365.10 Amtrak - Mullaney commute                            365.10

    02/18/2015         47.78 Flight fee - Mullaney commute                         47.78

    02/19/2015         42.00 Parking Fees MA                                   42.00
    02/20/2015         70.74 Borrow Lenses - Camera/Lens                       70.74
                             Rental
    02/20/2015        228.79 Borrow Lenses - Camera/Lens                      228.79
                             Rental
    02/22/2015         83.55 Taxi - Boston, taxi home    Amount corresponding to
                             after flight cancelled      benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/22/2015         25.00 JetBlue upgrade, India trip                           25.00
    02/22/2015         90.00 Car Service - Boston             Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
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    02/25/2015        945.19 The Imperial New Delhi -     Amount corresponding to
                             hotel, India trip            benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/25/2015      1,207.46 The Imperial New Delhi -     Amount corresponding to
                             hotel, India trip            benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/26/2015      4,590.50 Flight - Kigali, Rwanda to   Amount corresponding to
                             Boston                       benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/01/2015        496.38 ITC Maurya New Delhi -       Amount corresponding to
                             hotel, India trip            benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/01/2015        203.00 Parking Fees MA              Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    03/02/2015         15.96 Boston Globe Subscription                       15.96
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    03/06/2015        342.00 Amtrak - Mullaney commute                         342.00

    03/10/2015         30.13 Sir Harry's, NY Restaurant,                        30.13
                             drinks
    03/11/2015         24.99 WSJ Subscription                                   24.99
    03/11/2015        577.26 Langham Place - Mullaney                          577.26
                             weekly NY hotel
    03/11/2015         42.00 Parking Fees MA                                    42.00
    03/13/2015        382.00 Amtrak - Mullaney commute                         382.00

    03/13/2015         30.00 AT&T Cell Phone Plan                               30.00
    03/14/2015        161.99 AT&T Cell Phone Plan                              161.99
    03/18/2015        637.81 Langham Place - Mullaney                          639.81
                             weekly NY hotel
    03/18/2015         42.00 Parking Fees MA                                    42.00
    03/27/2015        304.00 Amtrak - Mullaney commute                         304.00

    03/30/2015         15.96 Boston Globe Subscription                          15.96
    04/01/2015         19.00 Amtrak - Mullaney commute                          19.00

    04/01/2015        738.83 Langham Place - Mullaney                          738.83
                             weekly NY hotel
    04/01/2015         42.00 Parking Fees MA                                     42.00
    04/03/2015        667.00 Micato Safaris - Africa trip   Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    04/05/2015        323.00 Amtrak - Mullaney commute                         323.00

    04/07/2015         19.00 Amtrak - Mullaney commute                          19.00

    04/07/2015      4,457.85 Castle Hill Inn, RI                             4,457.85
    04/07/2015        106.00 Frankie and Johnnies, NY                          106.00
                             restaurant
    04/08/2015        100.00 Change.org online petition                        100.00
    04/08/2015        636.52 Langham Place - Mullaney                          636.52
                             weekly NY hotel
    04/08/2015         42.00 Parking Fees MA                                    42.00
    04/10/2015        342.00 Amtrak - Mullaney commute                         342.00

    04/11/2015         24.99   WSJ Subscription                                 24.99
    04/12/2015         30.00   AT&T Cell Phone Plan                             30.00
    04/14/2015        334.28   AT&T Cell Phone Plan                            334.28
    04/15/2015         85.00   Amtrak - Mullaney commute                        85.00

    04/15/2015        728.29 Langham Place - Mullaney                          728.29
                             weekly NY hotel
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    04/15/2015         42.00 Parking Fees MA                                       42.00
    04/17/2015        361.00 Amtrak - Mullaney commute                            361.00

    04/21/2015        543.47 Langham Place - Mullaney                             543.47
                             weekly NY hotel
    04/21/2015         28.00 Parking Fees MA                                       28.00
    04/27/2015         15.96 Boston Globe Subscription                             15.96
    04/28/2015        390.93 Langham Place - Mullaney                             390.93
                             weekly NY hotel
    04/28/2015         55.30 Parking Fees CT                                       55.30
    04/29/2015        283.00 Amtrak - Mullaney commute                            283.00

    04/29/2015        382.00 Amtrak - Mullaney commute                            382.00

    05/01/2015          6.53 Langham Place - Mullaney                               6.53
                             weekly NY hotel
    05/01/2015        284.63 Langham Place - Mullaney                             284.63
                             weekly NY hotel
    05/01/2015         28.00 Parking Fees MA                                       28.00
    05/07/2015         65.00 JetBlue extra leg room, Dallas                        65.00
                             trip
    05/07/2015         65.00 JetBlue extra leg room, Dallas                        65.00
                             trip
    05/07/2015        163.31 Scott's Flowers delivery                             163.31
    05/08/2015        613.26 Langham Place - Mullaney                             613.26
                             weekly NY hotel
    05/08/2015         42.00 Parking Fees MA                                       42.00
    05/11/2015        382.00 Amtrak - Mullaney commute                            382.00

    05/11/2015         24.99 WSJ Subscription                                      24.99
    05/12/2015         30.00 AT&T Cell Phone Plan                                  30.00
    05/13/2015        219.61 Hertz - rental car, Dallas       Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    05/14/2015        162.51 AT&T Cell Phone Plan                                  162.51
    05/14/2015        255.10 Flight - to NJ for MCJ           Amount corresponding to
                             Amelior Foundation (gives        benefit that Mullaney
                             grants for mentoring and         received over and above
                             youth)                           reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
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    05/15/2015      1,364.20 Flight to SF                      Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    05/17/2015      1,581.70 Donation - Chicago charity                          1,581.70
    05/20/2015        958.64 Langham Place - Mullaney                              958.64
                             weekly NY hotel
    05/20/2015         42.00 Parking Fees MA                                        42.00
    05/22/2015        304.00 Amtrak - Mullaney commute                             304.00

    05/25/2015         15.96 Boston Globe Subscription                              15.96
    05/27/2015        288.63 Langham Place - Mullaney                              288.63
                             weekly NY hotel
    05/27/2015         28.00 Parking Fees MA                                         28.00
    05/28/2015      1,050.00 Sightsailing                                         1,050.00
    06/01/2015      7,060.20 Flight - Boston to Dar es         Amount corresponding to
                             Salaam                            benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    06/02/2015        108.73 Andronico's Community                                 108.73
                             Markets, wine, CA trip
    06/02/2015         15.99 Special service ticket, CA trip                        15.99

    06/03/2015        406.11 Dinah's Garden Hotel, CA trip     Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    06/03/2015        153.43 Hertz - rental car, CA,           Amount corresponding to
                             6/2/15- 6/3/15                    benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
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                                                              discovery, including
                                                              expert discovery.
    06/04/2015         58.00   Parking Fees MA                                     58.00
    06/05/2015          3.00   Parking Fees MA                                      3.00
    06/05/2015         85.00   TSA Pre-Check Application                           85.00
    06/08/2015        105.11   Hertz - rental car, NJ to      Amount corresponding to
                               NY, 6/8/15                     benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    06/09/2015        368.36 Flight - NY to Boston,                                  368.36
                             Mullaney
                             commute
    06/10/2015        609.95 Langham Place - Mullaney                                609.95
                             weekly NY hotel
    06/10/2015         87.00 Parking Fees MA                                          87.00
    06/11/2015         30.00 AT&T Cell Phone Plan                                     30.00
    06/11/2015         24.99 WSJ Subscription                                         24.99
    06/14/2015        163.88 AT&T Cell Phone Plan                                    163.88
    06/22/2015         15.96 Boston Globe Subscription                                15.96
    07/04/2015        352.00 Amtrak - Mullaney commute                               352.00

    07/06/2015        234.73 230 Fifth - NY Restaurant,                              234.73
                             drinks
    07/06/2015         21.00 Amtrak - Mullaney commute                                21.00

    07/06/2015        429.09 Dos Caminos - NY Restaurant                             429.09

    07/07/2015        333.00 Langham Place - Mullaney                                333.00
                             weekly NY hotel
    07/08/2015        331.22 AT&T Cell Phone Plan                                    331.22
    07/10/2015        326.00 Amtrak - Mullaney commute                               326.00

    07/11/2015         30.00 AT&T Cell Phone Plan                                     30.00
    07/11/2015         24.99 WSJ Subscription                                         24.99
    07/14/2015        334.74 Langham Place - Mullaney                                334.74
                             weekly NY hotel
    07/20/2015         27.72 Boston Globe Subscription                                27.72
    07/21/2015         58.90 Hudson News - Boston                                     58.90
    07/21/2015         14.00 Parking Fees MA                                          14.00
    07/22/2015        131.96 Newport Mansion Tours                                   131.96
                             tickets, RI
    07/22/2015         36.88 Rite Aid, RI                                             36.88
    07/22/2015        507.12 The Clarke Cooke House, RI                              507.12
                             Restaurant
    07/23/2015         19.89 7-Eleven, RI                                             19.89
    07/23/2015        402.90 The Black Pearl Restaurant, RI                          402.90
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    07/23/2015         24.50 Sayer's Wharf                                 24.50
    07/24/2015          8.64 Castle Hill Inn, RI                            8.64
    07/24/2015         28.08 Castle Hill Inn, RI                           28.08
    07/24/2015        784.43 Castle Hill Inn, RI                          784.43
    07/29/2015         71.00 Cross Sound Ferry, New                        71.00
                             London, CT
    07/30/2015        284.63 Langham Place - Mullaney                     284.63
                             weekly NY hotel
    07/30/2015         50.00 Parking Fees NY                               50.00
    08/01/2015        216.00 Amtrak - Mullaney commute                    216.00

    08/06/2015         72.00 Parking Fees RI                               72.00
    08/06/2015        762.49 Langham Place - Mullaney                     762.49
                             weekly NY hotel
    08/08/2015        272.00 Amtrak - Mullaney commute                    272.00

    08/09/2015          3.00 Parking Fees MA                                3.00
    08/10/2015         30.00 AT&T Cell Phone Plan                          30.00
    08/10/2015        860.89 AT&T Cell Phone Plan                         860.89
    08/11/2015         24.99 WSJ Subscription                              24.99
    08/11/2015         40.00 Parking Fees RI                               40.00
    08/11/2015        371.98 Langham Place - Mullaney                     371.98
                             weekly NY hotel
    08/12/2015        186.00 Amtrak - Mullaney commute                    186.00

    08/17/2015      1,000.00 Tickets (2) for Year Up Inc.            1,000.00
                             Gala
    08/18/2015         27.72 Boston Globe Subscription                     27.72
    08/19/2015         40.00 Parking Fees RI                               40.00
    08/19/2015         47.91 Langham Place - Mullaney                      47.91
                             weekly NY hotel
    08/19/2015        304.22 Langham Place - Mullaney                     304.22
                             weekly NY hotel
    08/20/2015        150.29 Hi-Time Wine Cellars                         150.29
    08/26/2015        288.63 Langham Place - Mullaney                     288.63
                             weekly NY hotel
    08/26/2015         28.00 Parking Fees MA                               28.00
    08/31/2015        265.00 Amtrak - Mullaney commute                    265.00

    09/01/2015         59.00 Amtrak - Mullaney commute                     59.00

    09/02/2015        285.00 Amtrak - Mullaney commute                    285.00

    09/02/2015        284.63 Langham Place - Mullaney                     284.63
                             weekly NY hotel
    09/02/2015         28.00 Parking Fees MA                               28.00
    09/07/2015        148.00 Amtrak - Mullaney commute                    148.00

    09/09/2015         30.00 AT&T Cell Phone Plan                          30.00
    09/10/2015        166.73 AT&T Cell Phone Plan                         166.73
    09/10/2015          6.53 Langham Place - Mullaney                       6.53
                             weekly NY hotel
    09/10/2015        659.47 Langham Place - Mullaney                     659.47
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                               weekly NY hotel
    09/10/2015         42.00   Parking Fees MA                                      42.00
    09/11/2015         24.99   WSJ Subscription                                     24.99
    09/14/2015         27.72   Boston Globe Subscription                            27.72
    09/15/2015        324.00   Amtrak - Mullaney commute                           324.00

    09/15/2015      1,000.00 Donation - Year Up Inc. (at                         1,000.00
                             gala)
    09/18/2015        288.63 Langham Place - Mullaney                              288.63
                             weekly NY hotel
    09/18/2015         28.00 Parking Fees MA                                        28.00
    09/20/2015        113.00 Amtrak - Mullaney commute                             113.00

    09/21/2015         69.00 Amtrak - Mullaney commute                              69.00

    09/22/2015         39.99 Ship Sticks (golf club shipping)                       39.99

    09/24/2015        631.52 Langham Place - Mullaney                              631.52
                             weekly NY hotel
    10/02/2015        403.26 Langham Place - Mullaney                              403.26
                             weekly NY hotel
    10/07/2015        577.26 Langham Place - Mullaney                              577.26
                             weekly NY hotel
    10/13/2015        321.41 Langham Place - Mullaney                              321.41
                             weekly NY hotel
    10/20/2015        389.11 Langham Place - Mullaney                              389.11
                             weekly NY hotel
    10/31/2015          9.80 Langham Place - Mullaney                                9.80
                             weekly NY hotel
    10/31/2015        644.26 Langham Place - Mullaney                              644.26
                             weekly NY hotel
    11/03/2015        372.00 Amtrak - Mullaney commute                             372.00

    11/05/2015        489.28 Langham Place - Mullaney                              489.28
                             weekly NY hotel
    11/06/2015         40.00 Parking Fees MA                                         40.00
    11/08/2015         30.00 AT&T Cell Phone Plan                                    30.00
    11/09/2015         27.72 Boston Globe Subscription                               27.72
    11/10/2015         68.63 AT&T Cell Phone Plan                                    68.63
    11/11/2015         28.99 WSJ Subscription                                        28.99
    11/16/2015        128.24 Taxi - London                      Amount corresponding to
                                                                benefit that Mullaney
                                                                received over and above
                                                                reasonably equivalent
                                                                value to Debtor to be
                                                                determined by additional
                                                                discovery, including
                                                                expert discovery.


    11/16/2015         42.00 Parking Fees MA                                       42.00
    11/17/2015         28.00 Parking Fees MA                                       28.00
    11/18/2015      1,304.54 Corinthia Hotel - London           Amount corresponding to
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                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.
    11/18/2015         87.00 Parking Fees MA             Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/21/2015          4.00 Amtrak - Mullaney commute                        4.00

    11/21/2015        333.00 Amtrak - Mullaney commute                      333.00

    11/25/2015         28.00 Parking Fees MA                                 28.00
    11/25/2015        867.99 Langham Place - Mullaney                       867.99
                             weekly NY hotel
    11/29/2015        352.00 Amtrak - Mullaney commute                      352.00

    12/01/2015         44.00 Amtrak - Mullaney commute                       44.00

    12/02/2015         44.64 Langham Place - Mullaney                        44.64
                             weekly NY hotel
    12/02/2015        416.02 Langham Place - Mullaney                       416.02
                             weekly NY hotel
    12/04/2015        313.00 Amtrak - Mullaney commute                      313.00

    12/04/2015         38.00 Parking Fees MA                                 38.00
    12/07/2015        297.13 Frankie and Johnnies, NY                       297.13
                             restaurant
    12/07/2015         27.72 Boston Globe Subscription                       27.72
    12/08/2015         83.00 Amtrak - Mullaney commute                       83.00

    12/08/2015         30.00 AT&T Cell Phone Plan                            30.00
    12/09/2015      1,105.30 Langham Place - Mullaney                     1,105.30
                             weekly NY hotel
    12/10/2015        269.00 Amtrak - Mullaney commute                      269.00

    12/10/2015        193.13 AT&T Cell Phone Plan                           193.13
    12/11/2015         28.99 WSJ Subscription                                28.99
    12/16/2015        874.97 Langham Place - Mullaney                       874.97
                             weekly NY hotel
    12/16/2015         28.00 Parking fees MA                                  28.00
    12/17/2015      8,439.70 Flight - Boston to London   Amount corresponding to
                             to Zurich                   benefit that Mullaney
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                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    12/18/2015        250.00 Amtrak - Mullaney commute                          250.00

    12/18/2015         42.00 Parking fees MA                                    42.00
    12/21/2015         19.00 Amtrak - Mullaney commute                          19.00

    12/22/2015        478.48 Langham Place - Mullaney                          478.48
                             weekly NY hotel
    12/22/2015         28.00 Parking fees MA                                    28.00
    12/23/2015         44.64 Langham Place - Mullaney                           44.64
                             weekly NY hotel
    01/03/2016        328.00 Amtrak - Mullaney commute                         328.00

    01/05/2016         27.72 Boston Globe Subscription                          27.72
    01/06/2016      9,887.16 Flight - Boston to            Amount corresponding to
                             Harare, Zimbabwe              benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/07/2016         30.00 AT&T Cell Phone Plan                               30.00
    01/07/2016         38.11 Langham Place - Mullaney                           38.11
                             weekly NY hotel
    01/07/2016        307.59 Langham Place - Mullaney                          307.59
                             weekly NY hotel
    01/07/2016         28.00 Parking fees MA                                     28.00
    01/10/2016        152.36 AT&T Cell Phone Plan                               152.36
    01/11/2016        131.99 Taxi - London                 Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/11/2016         28.99 WSJ Subscription                                   28.99
    01/11/2016         10.00 Patrick McMullan Company                           10.00
                             - photo purchase from event

    01/11/2016         75.00 Taxi - from home to airport   Amount corresponding to
                                                           benefit that Mullaney
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                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
    01/13/2016         63.26 Taxi - Zurich                Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/13/2016      1,408.45 Corinthia Hotel - London     Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/13/2016        121.55 Taxi - London                Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/14/2016         71.71 Taxi - Switzerland           Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/14/2016        437.71 Steigenberger Bellerive Au Lac Amount corresponding to
                             - hotel, Zurich                benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
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                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    01/15/2016        396.00 Amtrak - Mullaney commute                           396.00

    01/20/2016        307.59 Langham Place - Mullaney                           307.59
                             weekly NY hotel
    01/20/2016         28.00 Parking fees MA                                     28.00
    01/21/2016        230.00 Amtrak - Mullaney commute                          230.00

    01/22/2016        463.56 Cliffside Beach Club, hotel,                       463.56
                             Nantucket
    01/22/2016      2,764.59 Cliffside Beach Club, hotel,                     2,764.59
                             Nantucket
    01/22/2016      3,518.55 Cliffside Beach Club, hotel,                     3,518.55
                             Nantucket
    01/27/2016        230.00 Amtrak - Mullaney commute                          230.00

    01/27/2016         54.44 Langham Place - Mullaney                            54.44
                             weekly NY hotel
    01/27/2016        809.70 Langham Place - Mullaney                           809.70
                             weekly NY hotel
    01/27/2016         42.00 Parking Fees MA                                     42.00
    02/01/2016         27.72 Boston Globe Subscription                           27.72
    02/05/2016        230.00 Amtrak - Mullaney commute                          230.00

    02/05/2016          9.80 Langham Place - Mullaney                             9.80
                             weekly NY hotel
    02/05/2016        311.59 Langham Place - Mullaney                           311.59
                             weekly NY hotel
    02/05/2016         28.00 Parking Fees MA                                     28.00
    02/06/2016         30.00 AT&T Cell Phone Plan                                30.00
    02/10/2016        318.34 AT&T Cell Phone Plan                               318.34
    02/10/2016        695.26 Langham Place - Mullaney                           695.26
                             weekly NY hotel
    02/10/2016        304.77 Resto, NY restaurant                               304.77
    02/10/2016         42.00 Parking Fees MA                                     42.00
    02/11/2016         28.99 WSJ Subscription                                    28.99
    02/12/2016        289.00 Amtrak - Mullaney commute                          289.00

    02/16/2016        373.90 Zuma, NY restaurant                                373.90
    02/17/2016        329.79 Frankie and Johnnies, NY                           329.79
                             restaurant
    02/18/2016         54.44 Langham Place - Mullaney                            54.44
                             weekly NY hotel
    02/18/2016        661.29 Langham Place - Mullaney                           661.29
                             weekly NY hotel
    02/18/2016         42.00 Parking Fees MA                                     42.00
    02/19/2016      1,914.10 Flight - NY to LA              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
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                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
    02/20/2016        250.00 Amtrak - Mullaney commute                             250.00

    02/22/2016        396.00 Amtrak - Mullaney commute                            396.00

    02/25/2016        230.00 Amtrak - Mullaney commute                            230.00

    02/25/2016          9.80 Langham Place - Mullaney                                9.80
                             weekly NY hotel
    02/25/2016        742.62 Langham Place - Mullaney                             742.62
                             weekly NY hotel
    02/25/2016         42.00 Parking Fees MA                                       42.00
    02/26/2016         20.00 Amtrak - Mullaney commute                             20.00

    02/29/2016         27.72 Boston Globe Subscription                             27.72
    03/01/2016        390.09 Langham Place - Mullaney                             390.09
                             weekly NY hotel
    03/01/2016         28.00 Parking Fees MA                                        28.00
    03/04/2016      7,990.96 Flight - Boston to Lisbon (for                      7,990.96
                             Leadership Design Council
                             conference), to be refunded
                             by Mullaney
    03/06/2016        313.00 Amtrak - Mullaney commute                            313.00

    03/07/2016         30.00 AT&T Cell Phone Plan                                  30.00
    03/10/2016        165.91 AT&T Cell Phone Plan                                 165.91
    03/11/2016         28.99 WSJ Subscription                                      28.99
    03/11/2016      2,722.67 Langham Place - Mullaney         Amount equal to
                             weekly NY hotel (plus            Mullaney's stay.
                             BOD dinner)
    03/11/2016         56.00 Parking Fees MA                                       56.00
    03/13/2016        313.00 Amtrak - Mullaney commute                            313.00

    03/15/2016         40.84 Sir Harry's, NY Restaurant,                           40.84
                             drinks
    03/16/2016         20.00 Amtrak - Mullaney commute                             20.00

    03/16/2016          6.53 Langham Place - Mullaney                                6.53
                             weekly NY hotel
    03/16/2016        311.59 Langham Place - Mullaney                             311.59
                             weekly NY hotel
    03/16/2016         45.00 Parking Fees MA                                       45.00
    03/16/2016         28.00 Parking Fees MA                                       28.00
    03/28/2016         27.72 Boston Globe Subscription                             27.72
    03/30/2016        903.10 Flight - LA to Boston            Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
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                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.
    04/04/2016      2,000.00 BMCC Foundation Event                                2,000.00
                             Tickets (2)
    04/05/2016        644.10 Flight - NY to Houston            Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    04/05/2016        747.10 Flight - Houston to Boston        Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    04/06/2016         30.00 AT&T Cell Phone Plan                                   30.00
    04/06/2016        338.26 Sofitel, London, hotel, 1 night                       338.26

    04/08/2016         23.52 Jack Duggan's Pub,                                     23.52
                             Philadelphia airport lunch,
                             Lisbon trip
    04/08/2016        116.00 Parking Fees MA, Lisbon trip                          116.00

    04/10/2016        183.63 AT&T Cell Phone Plan                                  183.63
    04/11/2016        174.00 Amtrak - Mullaney commute                             174.00

    04/11/2016         28.99 WSJ Subscription                                       28.99
    04/11/2016        109.10 Ritz Four Seasons, hotel,                             109.10
                             Lisbon
                             trip
    04/12/2016         53.55 Terra, NY restaurant                                   53.55
    04/13/2016        362.43 Langham Place - Mullaney                              362.43
                             weekly NY hotel
    04/17/2016        333.00 Amtrak - Mullaney commute                             333.00

    04/20/2016        699.82 Langham Place - Mullaney                              699.82
                             weekly NY hotel
    04/20/2016      1,317.10 Flight - LA to NY                 Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
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                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    04/20/2016         42.00 Parking Fees MA                                     42.00
    04/22/2016        313.00 Amtrak - Mullaney commute                          313.00

    04/25/2016         27.72 Boston Globe Subscription                          27.72
    04/27/2016        738.52 Langham Place - Mullaney                          738.52
                             weekly NY hotel
    04/27/2016         42.00 Parking fees MA                                    42.00
    04/30/2016        313.00 Amtrak - Mullaney commute                         313.00

    05/01/2016      3,878.21 Flight - Newark to North Bend, Amount corresponding to
                             Indiana, to Portland, to       benefit that Mullaney
                             Seattle                        received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/02/2016         20.00 Amtrak - Mullaney commute                          20.00

    05/03/2016         39.00 Amtrak - Mullaney commute                          39.00

    05/04/2016        400.43 Langham Place - Mullaney                          400.43
                             weekly NY hotel
    05/04/2016         28.00 Parking fees MA                                    28.00
    05/06/2016         30.00 AT&T Cell Phone Plan                               30.00
    05/09/2016        359.62 Balboa Bay Resort Club,       Amount corresponding to
                             Newport Beach, CA, 1          benefit that Mullaney
                             night                         received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    05/10/2016        234.02 AT&T Cell Phone Plan                              234.02
    05/11/2016        231.10 Flight - NY to Boston,                            231.10
                             Mullaney
                             commute
    05/11/2016        207.00 Flight - NY to Boston,                            207.00
                             Mullaney
                             commute
    05/11/2016         28.99 WSJ Subscription                                   28.99
    05/11/2016      1,039.76 Hertz, rental car, LA,        Amount corresponding to
                             5/8/16- 5/11/16               benefit that Mullaney
                                                           received over and above
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                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery, and
                                                             excluding $200 credit.
    05/11/2016      2,106.28 Peninsula Beverly Hills, hotel, Amount corresponding to
                             2 nights                        benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    05/12/2016          3.00 Parking fees MA                                     3.00
    05/14/2016         38.11 Langham Place - Mullaney                           38.11
                             weekly NY hotel
    05/14/2016         50.08 Langham Place - Mullaney                           50.08
                             weekly NY hotel
    05/14/2016        473.69 Langham Place - Mullaney                          473.69
                             weekly NY hotel
    05/15/2016        200.00 Flight - Boston to             Amount corresponding to
                             Seattle, update for ticket     benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/17/2016         60.00 Adam Tarniowy, photographer                        60.00

    05/17/2016        446.12 The Langham Chicago, hotel,    Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/18/2016         69.13 The Langham Chicago, hotel     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
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                                                             discovery, including
                                                             expert discovery.
    05/23/2016         27.72 Boston Globe Subscription                               27.72
    05/24/2016        307.59 Langham Place - Mullaney                               307.59
                             weekly NY hotel
    05/31/2016        396.00 Amtrak - Mullaney commute                              396.00

    06/02/2016         38.11 Langham Place - Mullaney                                38.11
                             weekly NY hotel
    06/02/2016        379.11 Langham Place - Mullaney                               379.11
                             weekly NY hotel
    06/02/2016         28.00 Parking Fees MA                                         28.00
    06/03/2016        333.00 Amtrak - Mullaney commute                              333.00

    06/05/2016         30.00 AT&T Cell Phone Plan                                    30.00
    06/07/2016        307.59 Langham Place - Mullaney                               307.59
                             weekly NY hotel
    06/07/2016         28.00 Parking Fees MA                                         28.00
    06/10/2016        162.61 AT&T Cell Phone Plan                                   162.61
    06/11/2016         28.99 WSJ Subscription                                        28.99
    06/12/2016         51.01 Madison Bistro, NY restaurant                           51.01

    06/13/2016        205.10 Langham Place - Mullaney                               205.10
                             weekly NY hotel
    06/14/2016         38.11 Langham Place - Mullaney                                38.11
                             weekly NY hotel
    06/14/2016        615.18 Langham Place - Mullaney                               615.18
                             weekly NY hotel
    06/20/2016         27.72 Boston Globe Subscription                               27.72
    06/23/2016        106.00 Amtrak - Mullaney commute                              106.00

    06/23/2016        190.00 Amtrak - Mullaney commute                              190.00

    06/23/2016         83.84 LaDuree                                                 83.84
    06/25/2016        301.99 The Back Eddy Restaurant,                              301.99
                             Westport, MA restaurant
    06/27/2016         77.06 Madison Bistro, NY restaurant                           77.06

    06/28/2016        307.59 Langham Place - Mullaney                               307.59
                             weekly NY hotel
    06/28/2016         18.50 Amtrak - Mullaney commute                               18.50

    07/05/2016         30.00 AT&T Cell Phone Plan                                    30.00
    07/08/2016         51.19 Langham Place - Mullaney                                51.19
                             weekly NY hotel
    07/08/2016        615.18 Langham Place - Mullaney                               615.18
                             weekly NY hotel
    07/08/2016         80.00 Parking Fees MA                                         80.00
    07/09/2016        198.00 Flight - New Bedford to                                198.00
                             Nantucket, Mullaney's wife
    07/09/2016        198.00 Flight - New Bedford to                                198.00
                             Nantucket
    07/10/2016        242.66 AT&T Cell Phone Plan                                   242.66
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    07/11/2016         28.99 WSJ Subscription                            28.99
    07/13/2016        239.00 Amtrak - Mullaney commute                  239.00

    07/13/2016        338.00 Amtrak - Mullaney commute                  338.00

    07/14/2016        139.99 Flight - Nantucket to Boston               139.99

    07/14/2016        139.99 Flight - Nantucket to Boston,              139.99
                             Mullaney's wife
    07/15/2016          7.62 Langham Place - Mullaney                     7.62
                             weekly NY hotel
    07/15/2016        528.77 Langham Place - Mullaney                   528.77
                             weekly NY hotel
    07/15/2016         18.50 Amtrak - Mullaney commute                   18.50

    07/18/2016        296.00 Amtrak - Mullaney commute                  296.00

    07/18/2016         27.72 Boston Globe Subscription                   27.72
    07/21/2016         42.47 Langham Place - Mullaney                    42.47
                             weekly NY hotel
    07/21/2016        307.59 Langham Place - Mullaney                   307.59
                             weekly NY hotel
    07/21/2016         18.50 Amtrak - Mullaney commute                   18.50

    07/24/2016         20.01 Flight - Nantucket to Boston                20.01

    07/24/2016         20.01 Flight - Nantucket to Boston,               20.01
                             Mullaney's wife
    07/25/2016        220.00 Amtrak - Mullaney commute                  220.00

    07/25/2016         52.00 Breezin Up, Nantucket                       52.00
                             restaurant
    07/25/2016        593.27 The Galley Restaurant,                     593.27
                             Nantucket
    07/26/2016        450.59 Cru Oyster Bar, Nantucket               450.59
    07/27/2016      1,200.00 Endeavor Sailing, Nantucket           1,200.00

    07/27/2016         95.60 The Galley Restaurant,                      95.60
                             Nantucket
    07/27/2016        476.25 The Galley Restaurant,                     476.25
                             Nantucket
    07/28/2016        162.48 Cliffside Beach Club, hotel,               162.48
                             Nantucket
    07/28/2016      1,671.00 Hertz, rental car,                    1,671.00
                             Nantucket,
                             7/25/16-7/28/16
    07/28/2016        112.00 Parking Fees MA                            112.00
    08/04/2016         30.00 AT&T Cell Phone Plan                        30.00
    08/10/2016        334.00 Amtrak - Mullaney commute                  334.00

    08/10/2016        184.38 AT&T Cell Phone Plan                       184.38
    08/11/2016         28.99 WSJ Subscription                            28.99
    08/15/2016         27.72 Boston Globe Subscription                   27.72
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    08/16/2016         10.88 Langham Place - Mullaney                            10.88
                             weekly NY hotel
    08/16/2016        307.59 Langham Place - Mullaney                           307.59
                             weekly NY hotel
    08/16/2016         18.50 Parking Fees RI                                     18.50
    08/22/2016        149.94 B&H Photo, computer                                149.94
                             equipment
    08/22/2016        477.74 Zuma, NY Restaurant                                477.74
    08/23/2016         44.00 Parking Fees RI                                     44.00
    08/23/2016         57.71 Langham Place - Mullaney                            57.71
                             weekly NY hotel
    08/23/2016        307.59 Langham Place - Mullaney                           307.59
                             weekly NY hotel
    09/01/2016        333.00 Amtrak - Mullaney commute                          333.00

    09/03/2016         30.00 AT&T Cell Phone Plan                                30.00
    09/07/2016        116.90 The Australian, NY restaurant                      116.90

    09/09/2016        110.07 Budget, rental car, 9/8/16-                        110.07
                             9/9/16, NY, Cullen funeral
    09/09/2016         42.47 Langham Place, Mullaney                             42.47
                             weekly NY hotel
    09/09/2016        679.42 Langham Place, Mullaney                            679.42
                             weekly NY hotel
    09/09/2016         42.00 Parking Fees MA                                     42.00
    09/10/2016        166.23 AT&T Cell Phone Plan                               166.23
    09/11/2016        372.00 Amtrak - Mullaney commute                          372.00

    09/11/2016         28.99 WSJ Subscription                                    28.99
    09/12/2016         27.72 Boston Globe Subscription                           27.72
    09/12/2016        743.20 Flight - Boston to Philadelphia                    743.20

    09/14/2016        307.59 Langham Place, Mullaney                           307.59
                             weekly NY hotel
    09/14/2016         28.00 Parking Fees MA                                    28.00
    09/27/2016         56.63 Langham Place - Mullaney                           56.63
                             weekly NY hotel
    09/27/2016        307.59 Langham Place - Mullaney                          307.59
                             weekly NY hotel
    09/27/2016         22.00 Parking Fees DC                                    22.00
    09/28/2016        239.31 Hertz, rental car,           Amount corresponding to
                             9/27/16-9/28- 16, rented and benefit that Mullaney
                             returned in DC               received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    09/28/2016         80.00 Parking Fees MA                                      80.00
    10/02/2016        934.26 Hertz, rental car,                Amount corresponding to
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                             9/30/16- 10/2/16               benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    10/03/2016         30.00 AT&T Cell Phone Plan                                 30.00
    10/04/2016        314.00 Amtrak - Mullaney commute                           314.00

    10/05/2016        473.00 Flight to Philadelphia, Pine                       473.00
                             Valley Trip
    10/06/2016         80.00 Parking Fees MA, Pine Valley                        80.00
                             Trip
    10/10/2016        162.85 AT&T Cell Phone Plan                               162.85
    10/10/2016         27.72 Boston Globe Subscription                           27.72
    10/10/2016         53.00 Parking Fees NY                                     53.00
    10/11/2016         28.99 WSJ Subscription                                    28.99
    10/12/2016          4.36 Langham Place - Mullaney                             4.36
                             weekly NY hotel
    10/12/2016      1,585.52 Langham Place - Mullaney                         1,585.52
                             weekly NY hotel
    10/12/2016        104.00 Parking Fees NY                                    104.00
    10/15/2016        253.00 Amtrak - Mullaney commute                          253.00

    10/18/2016         42.47 Langham Place - Mullaney                            42.47
                             weekly NY hotel
    10/18/2016        422.33 Langham Place - Mullaney                           422.33
                             weekly NY hotel
    10/18/2016         28.00 Parking Fees MA                                     28.00
    10/20/2016      4,469.36 Flight - Boston to Dhaka       Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    10/20/2016      4,469.36 Flight - Boston to Dhaka,                        4,469.36
                             Mullaney's wife
    10/20/2016      4,469.36 Flight - Boston to Dhaka,                        4,469.36
                             Mullaney's daughter
    10/20/2016         47.78 Flight fees, Mullaney's wife                        47.78

    10/20/2016         47.78 Flight fees, Mullaney's                             47.78
                             daughter
    10/23/2016        232.00 Amtrak - Mullaney commute                          232.00

    10/25/2016      3,613.95 Adorama, Inc. - camera                           3,613.95
    10/25/2016        495.75 Flight - NY to Boston,                             495.75
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                               Mullaney
                               commute
    10/26/2016         46.83   Langham Place - Mullaney                        46.83
                               weekly NY hotel
    10/26/2016        892.57   Langham Place - Mullaney        777.91 ($892.57 minus
                               weekly NY hotel                        $114.66 credit)
    10/26/2016         42.00   Langham Place - Mullaney                        42.00
                               weekly NY hotel
    10/28/2016        400.00   Amtrak - Mullaney commute                      400.00

    11/01/2016         95.57 Dock's Oyster Bar, NY                             95.57
                             restaurant
    11/02/2016         30.00 AT&T Cell Phone Plan                              30.00
    11/02/2016         13.07 Langham Place - Mullaney                          13.07
                             weekly NY hotel
    11/02/2016        777.91 Langham Place - Mullaney                         777.91
                             weekly NY hotel
    11/02/2016         42.00 Parking Fees MA                                   42.00
    11/04/2016        960.00 Passport Plus Visas - visas for                  960.00
                             Mullaney and family
    11/07/2016         27.72 Boston Globe Subscription                         27.72
    11/08/2016        400.00 Amtrak - Mullaney commute                        400.00

    11/10/2016        192.78 AT&T Cell Phone Plan                             192.78
    11/10/2016          4.36 Langham Place - Mullaney                           4.36
                             weekly NY hotel
    11/10/2016         38.11 Langham Place - Mullaney                          38.11
                             weekly NY hotel
    11/10/2016        365.00 Langham Place - Mullaney                         365.00
                             weekly NY hotel
    11/10/2016         28.00 Parking Fees MA                                   28.00
    11/10/2016         29.79 UPS Store, Belmont, MA                            29.79
    11/11/2016         28.99 WSJ Subscription                                  28.99
    11/13/2016        377.00 Amtrak - Mullaney commute                        377.00

    11/16/2016         42.47 Langham Place - Mullaney                          42.47
                             weekly NY hotel
    11/16/2016        365.00 Langham Place - Mullaney                         365.00
                             weekly NY hotel
    11/16/2016         28.00 Parking Fees MA                                   28.00
    11/23/2016      4,779.18 Apple Online Store - new                       4,779.18
                             computer
    11/23/2016         67.01 Taxi - NY                                         67.01
    11/24/2016         25.92 Taxi - NY                                         25.92
    11/24/2016         57.73 Taxi - NY                                         57.73
    11/29/2016        400.00 Flight - Dhaka to Boston,                        400.00
                             change fee for
                             Mullaney's daughter
    11/29/2016        400.00 Flight - Dhaka to Boston,                        400.00
                             change fee
    11/29/2016        400.00 Flight - Dhaka to Boston,                        400.00
                             change fee for Mullaney's
                             wife
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    11/30/2016        101.38 Sonargaon Hotel, Bangladesh                  101.38
                             trip
    11/30/2016      1,009.46 Sonargaon Hotel, Bangladesh                 1,009.46
                             trip
    12/01/2016        316.00 Amtrak - Mullaney commute                    316.00

    12/02/2016         30.00 AT&T Cell Phone Plan                          30.00
    12/02/2016        714.80 Hotel Grand Park Baris,                      714.80
                             Bangladesh trip
    12/02/2016        296.70 Le Meridien Dhaka,                           296.70
                             Bangladesh
                             trip
    12/02/2016        629.17 Le Meridien Dhaka,                           629.17
                             Bangladesh
                             trip
    12/04/2016         74.36 Best Buy, Watertown, MA -                      74.36
                             computer equipment
    12/05/2016         27.72 Boston Globe Subscription                     27.72
    12/06/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/06/2016         28.00 Parking fees MA                               28.00
    12/09/2016        357.00 Amtrak - Mullaney commute                    357.00

    12/10/2016         20.00 Amtrak - Mullaney commute                      20.00

    12/10/2016        177.78 AT&T Cell Phone Plan                         177.78
    12/11/2016         28.99 WSJ Subscription                              28.99
    12/13/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/15/2016        149.81 Apple Store, Burlington, MA -                149.81
                             computer equipment
    12/16/2016         40.03 A I Friedman - frame for donor                 40.03
                             tribute
    12/16/2016        349.00 Apple Online Store - computer                349.00
                             equipment
    12/18/2016        400.00 Amtrak - Mullaney commute                    400.00

    12/20/2016         59.88 Langham Place - Mullaney                       59.88
                             weekly NY hotel
    12/20/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/20/2016         28.00 Parking fees MA                               28.00
    12/23/2016        104.13 Apple Store, Burlington, MA -                104.13
                             computer equipment
    Total                                                              260,971.10



    TOTAL FOR ALL CATEGORIES                   $597,756.11
    AmEx Payments
        Date      Amount            Description               Recovery Sought
    12/31/2012       30.00 AT&T Cell Phone Plan                             30.00
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    01/01/2013         21.76 iTunes purchase                                      21.76
    01/08/2013      2,169.90 Flight - LA to NY              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    01/08/2013      2,549.90 Flight - NY to LA              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    01/09/2013          3.26 iTunes purchase                                       3.26
    01/11/2013         21.62 WSJ Subscription                                     21.62
    01/11/2013      3,000.00 Donation - Lincoln Center                         3,000.00
                             Development Membership


    01/11/2013        404.61 Mr. C Hotels - LA, 1 night     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    01/14/2013        206.94 AT&T Cell Phone Plan                                206.94
    01/19/2013        838.88 Hyatt Hotels, Chicago, 1 night Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/21/2013          3.26   iTunes purchase                                    3.26
    01/26/2013        298.30   Marriott, Boston, 1 night                        298.30
    01/30/2013         30.00   AT&T Cell Phone Plan                              30.00
    01/31/2013         45.00   Parking Fees NY                                   45.00
    02/01/2013         21.76   iTunes purchase                                   21.76
    02/11/2013         21.62   WSJ Subscription                                  21.62
    02/12/2013         43.00   Parking Fees NY                                   43.00
    02/14/2013        179.11   AT&T Cell Phone Plan                             179.11
    02/23/2013          3.26   iTunes purchase                                    3.26
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    02/27/2013        363.42 Flight - to Delhi to Varanasi   Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    02/27/2013      5,543.44 Flight - NY to India            Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    03/01/2013         30.00 AT&T Cell Phone Plan                               30.00
    03/01/2013         21.76 iTunes purchase                                    21.76
    03/02/2013      3,771.43 Apple Online Store                              3,771.43
    03/04/2013         53.00 Communication Arts                                 53.00
                             Magazine
                             Subscription
    03/04/2013      3,358.70 Flight - London to India        Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    03/04/2013      5,372.20 Flight - NY to London (ST UK                    5,372.20
                             lawsuit trip)
    03/07/2013        119.81 Taxi - Heathrow Airport Taxi                      119.81

    03/08/2013        713.37 Corinthia Hotel, London                            713.37
    03/08/2013         94.26 Electronics Store - Dixons                          94.26
                             Travel, Heathrow Airport
    03/08/2013        135.74 Taxi - London Taxi                                 135.74
    03/09/2013          9.99 iTunes purchase                                      9.99
    03/09/2013          9.99 iTunes purchase                                      9.99
    03/09/2013         11.96 iTunes purchase                                     11.96
    03/09/2013         12.98 iTunes purchase                                     12.98
    03/11/2013         21.62 WSJ Subscription                                    21.62
    03/12/2013      1,573.98 Hyatt Regency, Kolkata, India, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
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                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
    03/13/2013        598.48 Radisson Blu Hotel, Ranchi,      Amount corresponding to
                             India, 1 night,                  benefit that Mullaney
                             accommodations for               received over and above
                             Mullaney, Greenwood, and         reasonably equivalent
                             Atkinson                         value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    03/14/2013        178.51 AT&T Cell Phone Plan                                  178.51
    03/15/2013      1,598.43 Hotel Taj Ganges, Varanasi,      Amount corresponding to
                             India, 1 night,                  benefit that Mullaney
                             accommodations for               received over and above
                             Mullaney, Greenwood, and         reasonably equivalent
                             Atkinson                         value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    03/15/2013        644.74 Taj Mahal Hotel, Mumbai,         Amount corresponding to
                             India, 1 night,                  benefit that Mullaney
                             accommodations for               received over and above
                             Mullaney, Greenwood, and         reasonably equivalent
                             Atkinson                         value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    03/20/2013          3.26   iTunes purchase                                       3.26
    03/29/2013        258.08   Frame & Art Gallery                                 258.08
    03/31/2013         30.00   AT&T Cell Phone Plan                                 30.00
    04/02/2013         21.76   iTunes purchase                                      21.76
    04/05/2013         43.00   Parking Fees NY                                      43.00
    04/08/2013         40.00   Parking Fees NY                                      40.00
    04/11/2013         21.62   WSJ Subscription                                     21.62
    04/12/2013         52.00   Parking Fees NY                                      52.00
    04/13/2013        525.93   Westin Copley Place, Boston,   Amount corresponding to
                               1 night                        benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
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                                                            expert discovery.
    04/14/2013        515.91 AT&T Cell Phone Plan                               515.91
    04/15/2013        200.93 Restaurant - La Fonda Del Sol                      200.93
                             NY
    04/17/2013         21.76 iTunes purchase                                     21.76
    04/19/2013         43.87 The Charles Hotel,            Amount corresponding to
                             Cambridge, MA, room service benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    04/19/2013         55.64 The Charles Hotel,          Amount corresponding to
                             Cambridge, MA, room service benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    04/19/2013        440.93 The Charles Hotel,             Amount corresponding to
                             Cambridge, MA, 1 night         benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    04/23/2013          3.26   iTunes purchase                                     3.26
    04/30/2013         30.00   AT&T Cell Phone Plan                               30.00
    05/01/2013         21.76   iTunes purchase                                    21.76
    05/09/2013        108.86   iTunes purchase                                   108.86
    05/11/2013         21.62   WSJ Subscription                                   21.62
    05/12/2013         48.00   Parking Fees NY                                    48.00
    05/14/2013        178.87   AT&T Cell Phone Plan                              178.87
    05/14/2013      2,543.80   Flight - NY to LA            Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
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    05/18/2013         21.76   iTunes purchase                                   21.76
    05/18/2013         65.31   iTunes purchase                                   65.31
    05/23/2013          3.26   iTunes purchase                                    3.26
    05/29/2013          8.13   iTunes purchase                                    8.13
    05/30/2013         30.00   AT&T Cell Phone Plan                              30.00
    05/30/2013      1,013.41   Balboa Bay Club,             Amount corresponding to
                               Newport Beach, CA, 2         benefit that Mullaney
                               nights                       received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/30/2013        565.31 Hertz - rental car, LA,        Amount corresponding to
                             5/27/13- 5/30/13               benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/31/2013        448.46 Mr. C Hotels - LA, 1 night     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/01/2013         21.76 iTunes purchase                                     21.76
    06/05/2013        401.10 Rental Car - Hertz Manhattan   Amount corresponding to
                             to Norwalk CT,                 benefit that Mullaney
                             6/4/13-6/5/13 for meeting at   received over and above
                             Sebonack golf course           reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/11/2013         21.62   WSJ Subscription                                  21.62
    06/15/2013        171.59   AT&T Cell Phone Plan                             171.59
    06/15/2013        164.13   Restaurant - Chef Luis                           164.13
    06/15/2013        914.46   The Liberty Hotel, Boston,   Amount corresponding to
                               1 night                      benefit that Mullaney
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                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
    06/17/2013        360.61 Flight - Boston to NY          Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/20/2013         44.99 The Liberty Hotel,             Amount corresponding to
                             Boston, room service           benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    06/25/2013        238.00 Amtrak - Mullaney commute                        238.00

    06/29/2013         30.00 AT&T Cell Phone Plan                              30.00
    07/02/2013         21.76 iTunes purchase                                   21.76
    07/02/2013          5.99 Refinery Hotel - Mullaney                          5.99
                             weekly NY hotel
    07/02/2013        396.80 Refinery Hotel - Mullaney                        396.80
                             weekly NY hotel
    07/02/2013         45.00 Parking Fees RI                                   45.00
    07/05/2013        185.00 Amtrak - Mullaney commute                        185.00

    07/05/2013         84.99 Best Buy                                          84.99
    07/09/2013         69.49 Cross Sound Ferry, New                            69.49
                             London, CT
    07/09/2013         71.00 Parking Fees NY                                   71.00
    07/10/2013         30.00 Parking Fees MA                                   30.00
    07/10/2013         17.69 The Carlton, Mullaney weekly                      17.69
                             NY hotel
    07/10/2013        300.71 The Carlton, Mullaney weekly                     300.71
                             NY hotel
    07/10/2013        866.70 The White Barn Inn, 2 nights                     866.70

    07/10/2013      1,043.25 The White Barn Inn, 2 nights                   1,043.25

    07/11/2013         21.62 WSJ Subscription                                  21.62
    07/14/2013         51.00 Parking Fees NY                                   51.00
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    07/14/2013        141.54 AT&T Cell Phone Plan                         141.54
    07/15/2013        495.15 Blue Man Group Tickets                       495.15
    07/16/2013        553.20 Langham Place, Mullaney                      553.20
                             weekly NY hotel
    07/18/2013        150.76 Boston Duck Tours                            150.76
    07/22/2013         15.46 Hudson News, Boston, MA                       15.46
    07/22/2013          9.00 Parking fees - MA                              9.00
    07/22/2013        378.86 W Boston Dining                              378.86
    07/23/2013        172.66 Hurricane Restaurant                         172.66
    07/23/2013         44.00 Taj Boston Hotel - Boston,                    44.00
                             MA,
                             room service
    07/23/2013        318.96 Taj Boston Hotel - Boston,                   318.96
                             MA,
                             1 night
    07/24/2013        233.14 Pier 77 Restaurant                           233.14
    07/25/2013         43.18 The White Barn Inn, 2 nights                  43.18

    07/25/2013      1,060.24 The White Barn Inn, 2 nights            1,060.24

    07/25/2013      1,195.82 The White Barn Inn, 2 nights            1,195.82

    07/26/2013          5.43 iTunes purchase                                5.43
    07/26/2013        244.00 Amtrak - Mullaney commute                    244.00

    07/29/2013         30.00 AT&T Cell Phone Plan                          30.00
    07/31/2013         60.00 Parking Fees RI                               60.00
    07/31/2013        553.20 Langham Place, Mullaney NY                   553.20
                             NYC
    08/01/2013         21.76 iTunes purchase                               21.76
    08/02/2013        300.00 Amtrak - Mullaney commute                    300.00

    08/07/2013      1,148.78 Langham Place, Mullaney NY              1,148.78
                             NYC
    08/09/2013        300.00 Amtrak - Mullaney commute                    300.00

    08/11/2013         21.62 WSJ Subscription                              21.62
    08/14/2013        178.67 AT&T Cell Phone Plan                         178.67
    08/14/2013         62.26 Restaurant - Frank and                        62.26
                             Johnnies, NY
    08/14/2013      1,010.00 Metropolitan Opera Tickets              1,010.00
    08/14/2013        106.00 Parking Fees NY                           106.00
    08/15/2013        859.80 Langham Place, Mullaney                   859.80
                             weekly NY hotel
    08/15/2013         53.00 Parking Fees NY                               53.00
    08/23/2013        332.00 Amtrak - Mullaney commute                    332.00

    08/26/2013         13.03 iTunes purchase                               13.03
    08/26/2013         14.12 iTunes purchase                               14.12
    08/28/2013         30.00 AT&T Cell Phone Plan                          30.00
    08/28/2013        624.17 Langham Place, Mullaney                      624.17
                             weekly NY hotel
    08/28/2013         42.00 Parking Fees MA                               42.00
    08/29/2013        576.90 Flight - Boston to LA
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                                                           Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    08/29/2013      1,504.90 Flight - LA to Boston         Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    08/30/2013      6,416.67 Flight - Boston to Mumbai     Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    08/30/2013        515.65 Flight - Calcutta to Mumbai   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    08/30/2013        876.80 Flight - Dubai to Calcutta    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/01/2013         21.76 iTunes purchase                                  21.76
    09/06/2013        294.00 Amtrak - Mullaney commute                       294.00
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    09/06/2013        136.95 Hertz, rental car, LA,        Amount corresponding to
                             9/5/13- 9/6/13                benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/07/2013        340.48 Balboa Bay Club,              Amount corresponding to
                             Newport Beach, CA, 1          benefit that Mullaney
                             night                         received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/07/2013         24.00 Mr. C Hotels - LA             Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/07/2013        345.42 Mr. C Hotels - LA, 1 night    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/11/2013         22.99   WSJ Subscription                               22.99
    09/11/2013         42.00   Parking Fees MA                                42.00
    09/14/2013        171.49   AT&T Cell Phone Plan                          171.49
    09/15/2013        294.00   Amtrak - Mullaney commute                     294.00

    09/17/2013      1,624.00 Flight - Boston to            Amount corresponding to
                             Mumbai, India trip            benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
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                                                            discovery, including
                                                            expert discovery.
    09/17/2013        202.27 Foto Care, Camera Cleaning                            202.27
                             Service, NY
    09/17/2013        508.72 Langham Place, Mullaney                               508.72
                             weekly NY hotel
    09/17/2013         28.00 Parking Fees MA                                     28.00
    09/20/2013         10.98 iTunes purchase                                     10.98
    09/22/2013        367.03 ITC Sonar Kolkata, Hotel,      Amount corresponding to
                             India trip, 1 night            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    09/23/2013         12.41 iTunes purchase                                     12.41
    09/23/2013         28.18 The Fort-A-Radisson,           Amount corresponding to
                             Kolkata, India                 benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    09/24/2013         42.10 Swissotel, hotel, India        Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    09/24/2013        320.31 Swissotel, hotel, India, 1 night Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    09/25/2013         16.32 iTunes purchase                                   16.32
    09/25/2013        162.00 Parking Fees MA, Airport,      Amount corresponding to
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                               India Trip                       benefit that Mullaney
                                                                received over and above
                                                                reasonably equivalent
                                                                value to Debtor to be
                                                                determined by additional
                                                                discovery, including
                                                                expert discovery.
    09/25/2013        379.34 Sofitel - hotel, London                                 379.34
    09/27/2013         30.00 AT&T Cell Phone Plan                                     30.00
    09/27/2013        360.61 Mullaney Commute, flight                                360.61
                             from
                             Boston to NY
    09/27/2013      2,206.30 Flight - NY to Houston             Amount corresponding to
                                                                benefit that Mullaney
                                                                received over and above
                                                                reasonably equivalent
                                                                value to Debtor to be
                                                                determined by additional
                                                                discovery, including
                                                                expert discovery.


    09/30/2013         51.37 Restaurant - Carlyle Food and                           51.37
                             Beverage NY
    09/30/2013          0.99 Boston Globe Subscription                                0.99
    10/01/2013        401.18 Langham Place, Mullaney                                401.18
                             weekly NY hotel
    10/02/2013         27.75 iTunes purchase                                         27.75
    10/02/2013         81.00 Parking Fees MA                                         81.00
    10/04/2013        370.00 Amtrak - Mullaney commute                              370.00

    10/04/2013        269.00 Flight - fee for ticket not used                       269.00

    10/10/2013      1,146.54 Langham, Mullaney NY Hotel                           1,146.54

    10/10/2013         56.00   Parking Fees MA                                       56.00
    10/11/2013         22.99   WSJ Subscription                                      22.99
    10/11/2013      6,804.60   Flight - Boston to London                          6,804.60
    10/14/2013        171.56   AT&T Cell Phone Plan                                 171.56
    10/14/2013         15.96   Boston Globe Subscription                             15.96
    10/16/2013        256.00   Amtrak - Mullaney commute                            256.00

    10/17/2013        238.90 Flight - NY to Boston, London                          238.90
                             trip
    10/17/2013        450.00 Flight - London to NY, London                          450.00
                             trip
    10/17/2013         45.00 Flight fees - London                                    45.00
    10/18/2013        142.29 Taxi - Heathrow Taxi Service                           142.29

    10/18/2013        856.49 Langham Hotel, London                                  856.49
    10/19/2013         81.00 Parking fees MA                                         81.00
    10/20/2013          4.34 iTunes purchase                                          4.34
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    10/23/2013        764.36 Langham, Mullaney NY Hotel                      764.36

    10/23/2013         42.00   Parking Fees MA                                42.00
    10/24/2013         21.75   iTunes purchase                                21.75
    10/25/2013      6,288.50   Flight - Boston to London                   6,288.50
    10/25/2013         47.78   Flight fees - London                           47.78
    10/26/2013        313.00   Amtrak - Mullaney commute                     313.00

    10/27/2013         30.00 AT&T Cell Phone Plan                             30.00
    10/30/2013        764.36 Langham Place - Mullaney                        764.36
                             weekly NY hotel
    10/30/2013         42.00 Parking Fees MA                                  42.00
    11/01/2013        293.00 Amtrak - Mullaney commute                       293.00

    11/01/2013      4,955.53 Flight - Boston to Delhi      Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    11/01/2013         21.76 iTunes purchase                                  21.76
    11/06/2013        764.36 Langham Place - Mullaney                        764.36
                             weekly NY hotel
    11/06/2013         42.00 Parking Fees MA                                  42.00
    11/07/2013         14.00 Parking Fees MA                                  14.00
    11/08/2013        218.00 Amtrak - Mullaney commute                       218.00

    11/11/2013         22.99 WSJ Subscription                                 22.99
    11/11/2013         15.96 Boston Globe Subscription                        15.96
    11/13/2013        796.58 Langham Place - Mullaney                        796.58
                             weekly NY hotel
    11/13/2013         42.00 Parking Fees MA                                  42.00
    11/14/2013        418.26 AT&T Cell Phone Plan                            418.26
    11/15/2013        275.00 Amtrak - Mullaney commute                       275.00

    11/15/2013        928.93 Flight - Delhi to Varanasi    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    11/20/2013        336.00 Amtrak - Mullaney commute                       336.00

    11/20/2013        764.36 Langham Place - Mullaney                        764.36
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                             weekly NY hotel
    11/20/2013         42.00 Parking Fees MA                                42.00
    11/24/2013         21.75 iTunes purchase                                21.75
    11/25/2013        237.00 Amtrak - Mullaney commute                     237.00

    11/26/2013         30.00 AT&T Cell Phone Plan                           30.00
    11/27/2013        772.36 Langham Place - Mullaney                      772.36
                             weekly NY hotel
    11/27/2013         42.00 Parking Fees MA                                42.00
    11/30/2013        336.00 Amtrak - Mullaney commute                     336.00

    12/03/2013      7,262.80 Flight - Boston to Zurich   Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/05/2013         37.00 Amtrak - Mullaney commute                      37.00

    12/05/2013      1,146.54 Langham Place - Mullaney                    1,146.54
                             weekly NY hotel
    12/05/2013         56.00 Parking Fees MA                                56.00
    12/07/2013        223.00 Amtrak - Mullaney commute                     223.00

    12/09/2013         15.96 Boston Globe Subscription                      15.96
    12/11/2013         22.99 WSJ Subscription                               22.99
    12/11/2013        772.36 Langham Place - Mullaney                      772.36
                             weekly NY hotel
    12/11/2013         42.00 Parking Fees MA                                42.00
    12/13/2013        185.00 Amtrak - Mullaney commute                     185.00

    12/13/2013        763.30 Flight - Odessa to Dallas   Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/13/2013      1,572.30 Flight - NY to Houston      Amount corresponding to
                             to Odessa                   benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
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                                                            expert discovery.
    12/14/2013        171.25 AT&T Cell Phone Plan                                171.25
    12/16/2013        501.90 Flight - Boston to Delhi       Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/17/2013        253.25 Apple Store, upgraded iPhone                       253.25

    12/17/2013        382.18 Langham Place - Mullaney                           382.18
                             weekly NY hotel
    12/18/2013        104.94 Enterprise Rent a Car,         Amount corresponding to
                             Houston trip, car rental,      benefit that Mullaney
                             12/18/13                       received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/18/2013         79.62 Taxi - Houston                 Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/18/2013         44.00 Taxi - Houston                 Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    12/19/2013        333.43 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
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                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.
    12/24/2013        370.00 Amtrak - Mullaney commute                            370.00

    12/26/2013         30.00 AT&T Cell Phone Plan                                 30.00
    12/27/2013        237.00 Amtrak - Mullaney commute                           237.00

    12/27/2013        382.18 Langham Place - Mullaney                            382.18
                             weekly NY hotel
    12/27/2013         28.00 Parking Fees MA                                      28.00
    12/28/2013         41.44 Apple Online Store, computer                         41.44
                             equipment
    12/30/2013        987.06 Apple Online Store, computer                        987.06
                             equipment
    01/02/2014         25.00 Taxi                                                 25.00
    01/03/2014        243.33 Hertz - rental car from NY to                       243.33
                             Boston, 1/3/14, Mullaney
                             commute
    01/03/2014        273.17 Langham Place - Mullaney                            273.17
                             weekly NY hotel
    01/03/2014         28.00 Parking Fees MA                                      28.00
    01/06/2014        237.00 Amtrak - Mullaney commute                           237.00

    01/06/2014         15.96 Boston Globe Subscription                            15.96
    01/08/2014         69.18 Taxi - Switzerland              Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    01/08/2014        671.37 Sofitel - hotel, London         Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    01/09/2014        255.44 Flight - to Switzerland         Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
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                                                          discovery, including
                                                          expert discovery.
    01/09/2014         99.40 Flight - Zurich to Boston    Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/09/2014         81.00 Parking Fees MA                                  81.00
    01/11/2014         22.99 WSJ Subscription                                 22.99
    01/13/2014        272.15 Park Avenue Liquor, NY                          272.15
    01/14/2014        203.28 AT&T Cell Phone Plan                            203.28
    01/15/2014        546.34 Langham Place - Mullaney                        546.34
                             weekly NY hotel
    01/17/2014        274.00 Amtrak - Mullaney commute                       274.00

    01/17/2014        332.00 Amtrak - Mullaney commute                       332.00

    01/22/2014         18.00 Amtrak - Mullaney commute                        18.00

    01/22/2014        274.00 Amtrak - Mullaney commute                       274.00

    01/23/2014        277.17 Langham Place - Mullaney                        277.17
                             weekly NY hotel
    01/23/2014         28.00 Parking Fees MA                                  28.00
    01/24/2014         47.40 Blue on Highland, MA                             47.40
                             restaurant
    01/25/2014         30.00 AT&T Cell Phone Plan                             30.00
    01/26/2014        239.25 I Trulli, NY restaurant                         239.25
    01/27/2014        273.17 Langham Place - Mullaney                        273.17
                             weekly NY hotel
    01/27/2014         28.00 Parking Fees MA                                   28.00
    01/28/2014      1,780.50 Flight - Boston to Houston   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    01/29/2014        207.71 Sofitel - hotel, London      Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
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                                                          discovery, including
                                                          expert discovery.
    02/01/2014      1,295.84 Hotel Imperial, New Delhi,   Amount corresponding to
                             1 night                      benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/03/2014         15.96 Boston Globe Subscription                         15.96
    02/03/2014      1,002.93 Hotel Taj Ganges,            Amount corresponding to
                             Varanasi, India              benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/05/2014        730.35 The Oberoi Amarvilas,        Amount corresponding to
                             Agra, India, 1 night         benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    02/06/2014        243.00 Parking fees MA              Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
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    02/06/2014        581.17 The Oberoi Amarvilas,       Amount corresponding to
                             Agra, India, 1 night        benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/07/2014        313.00 Amtrak - Mullaney commute                     313.00

    02/11/2014         22.99 WSJ Subscription                               22.99
    02/12/2014        546.34 Langham Place - Mullaney                      546.34
                             weekly NY hotel
    02/12/2014         42.00 Parking Fees MA                                42.00
    02/13/2014        128.00 Amtrak - Mullaney commute                     128.00

    02/13/2014        274.00 Amtrak - Mullaney commute                     274.00

    02/13/2014        443.00 Flight - LA to Boston       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/13/2014      2,217.00 Flight - NY to LA           Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/14/2014        286.41 AT&T Cell Phone Plan                          286.41
    02/19/2014        273.17 Langham Place - Mullaney                      273.17
                             weekly NY hotel
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    02/19/2014        442.97 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/21/2014        293.00 Amtrak - Mullaney commute                        293.00

    02/21/2014         35.00 Parking Fees MA                                   35.00
    02/24/2014         37.00 Amtrak - Mullaney commute                         37.00

    02/24/2014         30.00 AT&T Cell Phone Plan                              30.00
    02/25/2014        119.07 Frankie and Johnnies, NY                         119.07
                             restaurant
    02/26/2014        546.34 Langham Place - Mullaney                         546.34
                             weekly NY hotel
    02/26/2014         42.00 Parking Fees MA                                   42.00
    02/27/2014        185.00 Amtrak - Mullaney commute                        185.00

    03/03/2014         15.96 Boston Globe Subscription                         15.96
    03/05/2014        546.34 Langham Place - Mullaney                         546.34
                             weekly NY hotel
    03/05/2014        108.86 Office 365 - Mullaney Home                       108.86
                             Office
    03/06/2014         47.64 Shade Hotel, Manhattan        Amount corresponding to
                             Beach, CA, 1 night            benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    03/06/2014        510.94 Shade Hotel, Manhattan        Amount corresponding to
                             Beach, CA, 1 night            benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    03/07/2014        330.00 Amtrak - Mullaney commute                        330.00

    03/07/2014        362.37 Hertz - rental car, LA        Amount corresponding to
                             trip, 3/5/14-3/7/14           benefit that Mullaney
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                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.
    03/07/2014      2,415.00 Flight - LA to Boston           Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    03/07/2014         78.84 Viceroy Seaside, Santa          Amount corresponding to
                             Monica, CA, hotel, 1 night      benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    03/07/2014        464.91 Viceroy Seaside, Santa          Amount corresponding to
                             Monica, CA, hotel, 1 night      benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    03/08/2014        139.46 Boston Coach, taxi from train                     139.46
                             station home
    03/11/2014         22.99 WSJ Subscription                                   22.99
    03/12/2014         20.00 Amtrak - Mullaney commute                          20.00

    03/13/2014        590.34 Langham Place - Mullaney                          590.34
                             weekly NY hotel
    03/13/2014         14.00 Parking Fees MA                                    14.00
    03/14/2014        441.94 AT&T Cell Phone Plan                              441.94
    03/22/2014        293.00 Amtrak - Mullaney commute                         293.00

    03/26/2014         30.00 AT&T Cell Phone Plan                               30.00
    03/27/2014        554.34 Langham Place - Mullaney                          554.34
                             weekly NY hotel
    03/27/2014         38.00 Parking Fees MA                                    38.00
    03/27/2014         42.00 Parking Fees MA                                    42.00
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    03/28/2014         28.00 Parking Fees MA                                 28.00
    03/29/2014        350.00 Amtrak - Mullaney commute                      350.00

    03/31/2014         15.96 Boston Globe Subscription                       15.96
    04/02/2014        554.34 Langham Place - Mullaney                       554.34
                             weekly NY hotel
    04/02/2014         42.00 Parking Fees MA                                 42.00
    04/03/2014        370.00 Amtrak - Mullaney commute                      370.00

    04/08/2014        294.00 Amtrak - Mullaney commute      237.00 ($294.00 minus
                                                                              $57
                                                                           credit)
    04/08/2014        166.54 Koi Restaurant NY                             166.54
    04/09/2014        620.34 Langham Place - Mullaney                      620.34
                             weekly NY hotel
    04/09/2014         42.00 Parking Fees MA                                 42.00
    04/11/2014         22.99 WSJ Subscription                                22.99
    04/11/2014          7.00 Parking Fees MA                                  7.00
    04/12/2014        332.00 Amtrak - Mullaney commute                      332.00

    04/14/2014        163.12 AT&T Cell Phone Plan                           163.12
    04/16/2014        652.00 Langham Place - Mullaney                       652.00
                             weekly NY hotel
    04/16/2014         42.00 Parking Fees MA                                 42.00
    04/18/2014        332.00 Amtrak - Mullaney commute                      332.00

    04/23/2014        669.21 Langham Place - Mullaney                       669.21
                             weekly NY hotel
    04/23/2014         42.00 Parking Fees MA                                 42.00
    04/25/2014         30.00 AT&T Cell Phone Plan                            30.00
    04/26/2014        350.00 Amtrak - Mullaney commute                      350.00

    04/28/2014         15.96 Boston Globe Subscription                       15.96
    04/30/2014        667.47 Langham Place - Mullaney                       667.47
                             weekly NY hotel
    04/30/2014         27.00 Parking Fees MA                                  27.00
    04/30/2014         42.00 Parking Fees MA                                  42.00
    05/01/2014         28.00 Parking Fees MA                                  28.00
    05/01/2014        707.00 Flight - Boston to LA       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    05/01/2014      2,216.00 Flight - LA to NY           Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
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                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
    05/02/2014        294.00 Amtrak - Mullaney commute                         294.00

    05/07/2014        390.50 Langham Place - Mullaney                         390.50
                             weekly NY hotel
    05/07/2014         28.00 Parking Fees MA                                   28.00
    05/08/2014         18.00 Parking Fees MA                                   18.00
    05/09/2014        294.00 Amtrak - Mullaney commute                        294.00

    05/11/2014         22.99 WSJ Subscription                                  22.99
    05/12/2014        203.31 Frankie and Johnnies, NY                         203.31
                             restaurant
    05/12/2014      2,087.55 Hob Knob Inn, MA                               2,087.55
    05/12/2014      2,438.40 Hob Knob Inn, MA                               2,438.40
    05/13/2014        273.17 Langham Place - Mullaney                         273.17
                             weekly NY hotel
    05/13/2014         28.00 Parking Fees MA                                   28.00
    05/14/2014        161.49 AT&T Cell Phone Plan                             161.49
    05/14/2014         27.00 Parking Fees MA                                   27.00
    05/16/2014        370.00 Amtrak - Mullaney commute                        370.00

    05/20/2014         57.90 Frankie and Johnnies, NY                          57.90
                             restaurant
    05/22/2014        969.97 Langham Place - Mullaney                         969.97
                             weekly NY hotel
    05/22/2014         56.00 Parking Fees MA                                    56.00
    05/25/2014         30.00 AT&T Cell Phone Plan                               30.00
    05/26/2014         15.96 Boston Globe Subscription                          15.96
    05/27/2014        169.00 Steamship Authority, ferry                        169.00
    05/28/2014        383.89 Balboa Bay Club,             Amount corresponding to
                             Newport Beach, CA, 1         benefit that Mullaney
                             night                        received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/29/2014        302.24 Hertz - rental car, LA,      Amount corresponding to
                             5/27/14- 5/29/14             benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/30/2014        273.17 Langham Place - Mullaney                         273.17
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                             weekly NY hotel
    05/30/2014        460.98 Mr. C's Hotel, LA, 1 night   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/31/2014        313.00 Amtrak - Mullaney commute                       313.00

    06/04/2014        600.00 Hob Knob Inn, MA                                600.00
    06/04/2014        652.53 Langham Place - Mullaney                        652.53
                             weekly NY hotel
    06/04/2014         42.00 Parking Fees MA                                  42.00
    06/11/2014         22.99 WSJ Subscription                                 22.99
    06/14/2014        161.49 AT&T Cell Phone Plan                            161.49
    06/15/2014        370.00 Amtrak - Mullaney commute                       370.00

    06/18/2014        590.34 Langham Place, Mullaney NY                      590.34
                             Hotel
    06/18/2014         42.00 Parking Fees MA                                  42.00
    06/22/2014        109.00 Amtrak - Mullaney commute                       109.00

    06/23/2014         15.96 Boston Globe Subscription                        15.96
    06/25/2014         25.00 AT&T Cell Phone Plan                             25.00
    06/25/2014      2,581.04 Langham Place - Mullaney     Amount equal to
                             weekly NY hotel(plus MAB     Mullaney's stay.
                             members)
    07/01/2014        273.17 Langham Place - Mullaney                        273.17
                             weekly NY hotel
    07/05/2014        281.00 Amtrak - Mullaney commute                       281.00

    07/09/2014        310.74 Langham Place - Mullaney                        310.74
                             weekly NY hotel
    07/11/2014        281.00 Amtrak - Mullaney commute                       281.00

    07/11/2014         22.99 WSJ Subscription                                 22.99
    07/14/2014        348.98 AT&T Cell Phone Plan                            348.98
    07/15/2014        273.17 Langham Place - Mullaney                        273.17
                             weekly NY hotel
    07/21/2014        364.94 Alchemy - Restaurant MA                         364.94
    07/21/2014         15.96 Boston Globe Subscription                        15.96
    07/21/2014         29.95 Murdick's Fudge                                  29.95
    07/21/2014         50.55 Sharky's Cantina, MA                             50.55
    07/21/2014         41.49 Gas                                              41.49
    07/21/2014         78.00 The Black Dog, MA                                78.00
    07/22/2014        133.38 Atlantic Restaurant, MA                         133.38
    07/22/2014        401.82 State Road Restaurant, MA                       401.82
    07/23/2014         78.80 Murdick's Fudge                                  78.80
    07/23/2014         35.72 The Seafood Shanty                               35.72
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    07/23/2014        452.50 The Terrace at the Charlotte                     452.50
                             Inn
    07/24/2014         18.07 Hob Knob Inn, MA                                  18.07
    07/24/2014         35.09 Hob Knob Inn, MA                                  35.09
    07/24/2014        297.88 Hob Knob Inn, MA                                 297.88
    07/24/2014         52.00 Steamship Authority, ferry                        52.00
    07/29/2014        364.38 Langham Place - Mullaney                         364.38
                             weekly NY hotel
    08/01/2014        281.00 Amtrak - Mullaney commute                        281.00

    08/04/2014        160.82 Frankie and Johnnies, NY                         160.82
                             restaurant
    08/05/2014        273.17 Langham Place - Mullaney                         273.17
                             weekly NY hotel
    08/08/2014        281.00 Amtrak - Mullaney commute                        281.00

    08/11/2014         22.99 WSJ Subscription                                  22.99
    08/12/2014        380.27 Langham Place - Mullaney                         380.27
                             weekly NY hotel
    08/14/2014        161.61 AT&T Cell Phone Plan                             161.61
    08/17/2014        281.00 Amtrak - Mullaney commute                        281.00

    08/18/2014         15.96 Boston Globe Subscription                         15.96
    08/19/2014        381.36 Langham Place - Mullaney                         381.36
                             weekly NY hotel
    08/22/2014        300.00 Amtrak - Mullaney commute                        300.00

    08/27/2014        123.00 Amtrak - Mullaney commute                        123.00

    08/27/2014        589.20 Langham Place - Mullaney                         589.20
                             weekly NY hotel
    08/28/2014        866.10 Flight - Boston to Houston     Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    08/28/2014      1,054.10 Flight - LA to Boston          Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.
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    08/29/2014        332.00 Amtrak - Mullaney commute                        332.00

    09/03/2014        170.61 Frankie and Johnnies, NY                         170.61
                             restaurant
    09/04/2014        861.26 Langham Place - Mullaney                         861.26
                             weekly NY hotel
    09/04/2014         42.00 Parking Fees MA                                    42.00
    09/05/2014        317.60 Flight - Houston to Odessa    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/05/2014        473.60 Flight - Odessa to Dallas     Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/06/2014        350.00 Amtrak - Mullaney commute       313.00 ($350 minus $37
                                                                             credit)
    09/10/2014      2,080.85 Langham Place - Mullaney      Amount equal to
                             weekly NY hotel (plus         Mullaney's stay.
                             dinner)
    09/10/2014         42.00 Parking Fees MA                                    42.00
    09/11/2014         22.99 WSJ Subscription                                   22.99
    09/11/2014        705.60 Flight - Houston to LA        Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/14/2014         30.00   AT&T Cell Phone Plan                            30.00
    09/14/2014        162.32   AT&T Cell Phone Plan                           162.32
    09/15/2014         15.96   Boston Globe Subscription                       15.96
    09/16/2014        377.00   Amtrak - Mullaney commute                      377.00

    09/16/2014        421.23 Westin Galleria, Houston trip, Amount corresponding to
                             1 night                        benefit that Mullaney
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                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    09/19/2014      1,415.00 Mr. C's Hotel, LA, 3 nights   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/23/2014         10.90 Taxi - NY to ICD Board                             10.90
                             Meeting
    09/23/2014        722.42 Refinery Hotel - Mullaney                         722.42
                             Weekly NY Hotel
    09/24/2014        397.32 Langham Place - Mullaney                          397.32
                             weekly NY hotel
    09/24/2014         42.00 Parking Fees MA                                    42.00
    09/25/2014        577.10 Flight - NY to Houston        Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/25/2014      1,183.70 Flight - Odessa to Dallas     Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    09/28/2014        350.00 Amtrak - Mullaney commute                         350.00

    10/01/2014      1,597.29 Langham Place - Mullaney      Amount equal to
                             weekly NY hotel (plus         Mullaney's stay.
                             dinner)
    10/01/2014         42.00 Parking Fees MA                                     42.00
    10/02/2014        104.00 Il Casale, Belmont, MA                             104.00
    10/02/2014      5,890.40 Twin Farms, hotel, 1 night                       5,890.40
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    10/03/2014        100.00 Amtrak - Mullaney commute                       100.00

    10/03/2014        122.00 Amtrak - Mullaney commute                       122.00

    10/07/2014        170.00 Amtrak - Mullaney commute                       170.00

    10/07/2014        288.40 Frankie and Johnnies, NY                        288.40
                             restaurant
    10/07/2014         25.14 Omni New Haven Hotel                             25.14
    10/07/2014        189.35 Omni New Haven Hotel, 1                         189.35
                             night
    10/08/2014        794.64 Langham Place - Mullaney                        794.64
                             weekly NY hotel
    10/08/2014         42.00 Parking Fees MA                                   42.00
    10/10/2014      1,040.60 Flight - Odessa to Houston   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    10/10/2014         45.00 Flight fees - Houston        Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    10/11/2014         22.99 WSJ Subscription                                 22.99
    10/13/2014        191.00 Amtrak - Mullaney commute                       191.00

    10/13/2014         15.96 Boston Globe Subscription                        15.96
    10/14/2014         30.00 AT&T Cell Phone Plan                             30.00
    10/14/2014        161.61 AT&T Cell Phone Plan                            161.61
    10/15/2014        492.53 Langham Place - Mullaney                        492.53
                             weekly NY hotel
    10/16/2014        212.69 Budget Rent A Car,           Amount corresponding to
                             Midland, TX,                 benefit that Mullaney
                             10/15/14-10/16/14            received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.
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    10/16/2014         42.00 Parking Fees MA                                   42.00
    10/19/2014        361.00 Amtrak - Mullaney commute                        361.00

    10/20/2014        138.87 Frankie and Johnnies, NY                         138.87
                             restaurant
    10/22/2014        851.01 Langham Place - Mullaney                         851.01
                             weekly NY hotel
    10/22/2014         42.00 Parking Fees MA                                   42.00
    10/24/2014        342.00 Amtrak - Mullaney commute                        342.00

    10/29/2014      1,287.00 Flight - Addis Ababa to Dar   Amount corresponding to
                             Es Salaam, Ethiopia           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    10/29/2014          7.62 Langham Place - Mullaney                           7.62
                             weekly NY hotel
    10/29/2014        940.05 Langham Place - Mullaney                         940.05
                             weekly NY hotel
    10/29/2014      7,216.10 Flight - Boston to Ethiopia   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    10/29/2014         42.00 Parking Fees MA                                   42.00
    11/02/2014        361.00 Amtrak - Mullaney commute                        361.00

    11/06/2014      2,107.76 Langham Place - Mullaney      Amount equal to
                             weekly NY hotel (plus         Mullaney's stay.
                             Dysart dinner and stay)
    11/06/2014         56.00 Parking Fees MA                                   56.00
    11/07/2014        785.21 Perman Wine Selections                           785.21
    11/08/2014        304.00 Amtrak - Mullaney commute                        304.00

    11/10/2014         15.96 Boston Globe Subscription                         15.96
    11/11/2014         24.99 WSJ Subscription                                  24.99
    11/11/2014        401.32 Langham Place - Mullaney                         401.32
                             weekly NY hotel
    11/11/2014         28.00 Parking Fees MA                                   28.00
    11/13/2014         30.00 AT&T Cell Phone Plan                              30.00
    11/14/2014        361.00 Amtrak - Mullaney commute                        361.00
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    11/14/2014        161.82 AT&T Cell Phone Plan                             161.82
    11/14/2014        180.00 Twin Farms, hotel                                180.00
    11/17/2014        307.00 Amtrak - Mullaney commute                        307.00

    11/18/2014        637.20 Flight - Odessa to Boston     Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    11/18/2014        687.10 Flight - NY to Odessa         Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    11/19/2014        837.88 Langham Place - Mullaney                         837.88
                             weekly NY hotel
    11/19/2014         42.00 Parking Fees MA                                   42.00
    11/24/2014        144.04 Frankie and Johnnies, NY                         144.04
                             restaurant
    11/24/2014      8,136.30 Flight - JFK to Zurich        Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    11/25/2014        441.28 Langham Place - Mullaney                         441.28
                             weekly NY hotel
    11/25/2014         28.00 Parking Fees MA                                    28.00
    12/02/2014        898.51 Sheraton Addis Addis Ababa,   Amount corresponding to
                             Ethiopia                      benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
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    12/03/2014        501.94 Sheraton Addis Addis Ababa,   Amount corresponding to
                             Ethiopia                      benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    12/05/2014         19.00 Amtrak - Mullaney commute                         19.00

    12/05/2014        302.00 Amtrak - Mullaney commute                        302.00

    12/05/2014      1,484.16 Hyatt Regency Dar es          Amount corresponding to
                             Salaam, Ethiopia              benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    12/05/2014      3,757.70 Flight - Dar es Salaam to     Amount corresponding to
                             Boston                        benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    12/08/2014         19.00 Amtrak - Mullaney commute                         19.00

    12/08/2014         15.96 Boston Globe Subscription                         15.96
    12/10/2014        215.63 Frankie and Johnnies, NY                         215.63
                             restaurant
    12/11/2014         24.99 WSJ Subscription                                  24.99
    12/11/2014      1,436.09 Langham Place - Mullaney      Amount equal to
                             weekly NY hotel (plus         Mullaney's stay.
                             Atkinson stay)
    12/11/2014         42.00 Parking Fees MA                                   42.00
    12/12/2014        170.00 Amtrak - Mullaney commute                        170.00

    12/13/2014         30.00 AT&T Cell Phone Plan                              30.00
    12/14/2014        166.33 AT&T Cell Phone Plan                             166.33
    12/15/2014         31.12 Taxi - NY to ICD Board                            31.12
                             Meeting
    12/16/2014        443.01 Langham Place - Mullaney                         443.01
                             weekly NY hotel
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    12/16/2014          6.99 Flight - NY to Houston      Amount corresponding to
                             to Odessa                   benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/17/2014        251.28 Budget Rent A Car,          Amount corresponding to
                             Midland, TX,                benefit that Mullaney
                             12/16/14-12/17/14           received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/18/2014         32.00 Parking Fees MA                                 32.00
    12/26/2014        264.00 Amtrak - Mullaney commute                      264.00

    12/30/2014        483.94 Langham Place - Mullaney                       483.94
                             weekly NY hotel
    12/30/2014         28.00 Parking Fees MA                                  28.00
    12/30/2014         28.00 Parking Fees MA                                  28.00
    01/05/2015        400.00 Flight - NY to Zurich       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/05/2015         15.96 Boston Globe Subscription                       15.96
    01/06/2015        284.63 Langham Place - Mullaney                       284.63
                             weekly NY hotel
    01/07/2015         64.29 Taxi - Zurich               Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    01/07/2015        373.78 Sofitel Hotel, London       Amount corresponding to
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                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.
    01/08/2015         70.35 Taxi - Zurich                   Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    01/11/2015         24.99 WSJ Subscription                                   24.99
    01/12/2015         30.00 AT&T Cell Phone Plan                               30.00
    01/14/2015        285.08 AT&T Cell Phone Plan                              285.08
    01/15/2015      4,196.13 Flight - NY to India for Eve                    4,196.13
                             Claxton, writer of Mullaney's
                             personal book
    01/15/2015        286.81 Flight - Varanasi to Delhi                        286.81
                             for Eve Claxton, writer of
                             Mullaney's personal book
    01/15/2015        286.81 Flight - Varanasi to Delhi      Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    01/15/2015        406.32 Flight - Delhi to Patna for                       406.32
                             Eve Claxton, writer of
                             Mullaney's personal book
    01/15/2015        406.32 Flight - Delhi to Patna         Amount corresponding to
                                                             benefit that Mullaney
                                                             received over and above
                                                             reasonably equivalent
                                                             value to Debtor to be
                                                             determined by additional
                                                             discovery, including
                                                             expert discovery.


    01/15/2015      4,987.83 Flight - Boston to Delhi        Amount corresponding to
                                                             benefit that Mullaney
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                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.
    01/19/2015        361.00 Amtrak - Mullaney commute                        361.00

    01/23/2015        666.12 Langham Place - Mullaney                        666.12
                             weekly NY hotel
    01/23/2015         42.00 Parking Fees MA                                  42.00
    01/25/2015        304.00 Amtrak - Mullaney commute                       304.00

    01/27/2015        245.00 Amtrak - Mullaney commute                       245.00

    01/28/2015         89.00 Communication Arts                               89.00
                             Magazine
                             Subscription
    01/31/2015        191.00 Amtrak - Mullaney commute                       191.00

    01/31/2015      1,001.68 Langham Place - Mullaney                      1,001.68
                             weekly NY hotel
    01/31/2015         56.00 Parking Fees MA                                  56.00
    02/01/2015      1,532.10 Flight - LA to Boston       Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/01/2015      2,507.10 Flight - NY to LA           Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    02/02/2015         15.96 Boston Globe Subscription                        15.96
    02/03/2015        324.87 Langham Place - Mullaney                        324.87
                             weekly NY hotel
    02/05/2015        302.00 Amtrak - Mullaney commute                       302.00

    02/05/2015        481.07 Hertz - rental car, LA,     Amount corresponding to
                             2/3/15- 2/5/15              benefit that Mullaney
                                                         received over and above
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                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.
    02/05/2015         56.00 Parking Fees MA                                       56.00
    02/06/2015         59.95 SLS Hotel Beverly Hills, LA      Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    02/06/2015      1,232.69 SLS Hotel Beverly Hills, LA,     Amount corresponding to
                             2 nights                         benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    02/09/2015        284.63 Langham Place - Mullaney                            284.63
                             weekly NY hotel
    02/09/2015         28.00 Parking Fees MA                                      28.00
    02/11/2015         30.00 AT&T Cell Phone Plan                                 30.00
    02/11/2015         24.99 WSJ Subscription                                     24.99
    02/13/2015         40.00 Parking Fees MA                                      40.00
    02/14/2015        226.00 Amtrak - Mullaney commute                           226.00

    02/14/2015        382.00 Amtrak - Mullaney commute                           382.00

    02/14/2015        262.93 AT&T Cell Phone Plan                                262.93
    02/17/2015        281.98 Flight - Orlando to NY, flight                      281.98
                             home from HMS hearings
                             (there were no HMS
                             hearings in Orlando)
    02/18/2015        386.93 Langham Place - Mullaney                            386.93
                             weekly NY hotel
    02/18/2015        365.10 Amtrak - Mullaney commute                           365.10

    02/18/2015         47.78 Flight fee - Mullaney commute                        47.78

    02/19/2015         42.00 Parking Fees MA                                      42.00
    02/20/2015         70.74 Borrow Lenses - Camera/Lens                          70.74
                             Rental
    02/20/2015        228.79 Borrow Lenses - Camera/Lens                         228.79
                             Rental
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    02/22/2015         83.55 Taxi - Boston, taxi home      Amount corresponding to
                             after flight cancelled        benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    02/22/2015         25.00 JetBlue upgrade, India trip                        25.00
    02/22/2015         90.00 Car Service - Boston          Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    02/25/2015        945.19 The Imperial New Delhi -      Amount corresponding to
                             hotel, India trip             benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    02/25/2015      1,207.46 The Imperial New Delhi -      Amount corresponding to
                             hotel, India trip             benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    02/26/2015      4,590.50 Flight - Kigali, Rwanda to    Amount corresponding to
                             Boston                        benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
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    03/01/2015        496.38 ITC Maurya New Delhi -        Amount corresponding to
                             hotel, India trip             benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    03/01/2015        203.00 Parking Fees MA               Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    03/02/2015         15.96 Boston Globe Subscription                        15.96
    03/06/2015        342.00 Amtrak - Mullaney commute                       342.00

    03/10/2015         30.13 Sir Harry's, NY Restaurant,                      30.13
                             drinks
    03/11/2015         24.99 WSJ Subscription                                 24.99
    03/11/2015        577.26 Langham Place - Mullaney                        577.26
                             weekly NY hotel
    03/11/2015         42.00 Parking Fees MA                                  42.00
    03/13/2015        382.00 Amtrak - Mullaney commute                       382.00

    03/13/2015         30.00 AT&T Cell Phone Plan                             30.00
    03/14/2015        161.99 AT&T Cell Phone Plan                            161.99
    03/18/2015        637.81 Langham Place - Mullaney                        639.81
                             weekly NY hotel
    03/18/2015         42.00 Parking Fees MA                                  42.00
    03/27/2015        304.00 Amtrak - Mullaney commute                       304.00

    03/30/2015         15.96 Boston Globe Subscription                        15.96
    04/01/2015         19.00 Amtrak - Mullaney commute                        19.00

    04/01/2015        738.83 Langham Place - Mullaney                        738.83
                             weekly NY hotel
    04/01/2015         42.00 Parking Fees MA                                  42.00
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    04/03/2015        667.00 Micato Safaris - Africa trip     Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    04/05/2015        323.00 Amtrak - Mullaney commute                          323.00

    04/07/2015         19.00 Amtrak - Mullaney commute                           19.00

    04/07/2015      4,457.85 Castle Hill Inn, RI                              4,457.85
    04/07/2015        106.00 Frankie and Johnnies, NY                           106.00
                             restaurant
    04/08/2015        100.00 Change.org online petition                         100.00
    04/08/2015        636.52 Langham Place - Mullaney                           636.52
                             weekly NY hotel
    04/08/2015         42.00 Parking Fees MA                                     42.00
    04/10/2015        342.00 Amtrak - Mullaney commute                          342.00

    04/11/2015         24.99   WSJ Subscription                                  24.99
    04/12/2015         30.00   AT&T Cell Phone Plan                              30.00
    04/14/2015        334.28   AT&T Cell Phone Plan                             334.28
    04/15/2015         85.00   Amtrak - Mullaney commute                         85.00

    04/15/2015        728.29 Langham Place - Mullaney                           728.29
                             weekly NY hotel
    04/15/2015         42.00 Parking Fees MA                                     42.00
    04/17/2015        361.00 Amtrak - Mullaney commute                          361.00

    04/21/2015        543.47 Langham Place - Mullaney                           543.47
                             weekly NY hotel
    04/21/2015         28.00 Parking Fees MA                                     28.00
    04/27/2015         15.96 Boston Globe Subscription                           15.96
    04/28/2015        390.93 Langham Place - Mullaney                           390.93
                             weekly NY hotel
    04/28/2015         55.30 Parking Fees CT                                     55.30
    04/29/2015        283.00 Amtrak - Mullaney commute                          283.00

    04/29/2015        382.00 Amtrak - Mullaney commute                          382.00

    05/01/2015          6.53 Langham Place - Mullaney                              6.53
                             weekly NY hotel
    05/01/2015        284.63 Langham Place - Mullaney                           284.63
                             weekly NY hotel
    05/01/2015         28.00 Parking Fees MA                                     28.00
    05/07/2015         65.00 JetBlue extra leg room, Dallas                      65.00
                             trip
    05/07/2015         65.00 JetBlue extra leg room, Dallas                      65.00
                             trip
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    05/07/2015        163.31 Scott's Flowers delivery                         163.31
    05/08/2015        613.26 Langham Place - Mullaney                         613.26
                             weekly NY hotel
    05/08/2015         42.00 Parking Fees MA                                   42.00
    05/11/2015        382.00 Amtrak - Mullaney commute                        382.00

    05/11/2015         24.99 WSJ Subscription                                  24.99
    05/12/2015         30.00 AT&T Cell Phone Plan                              30.00
    05/13/2015        219.61 Hertz - rental car, Dallas   Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/14/2015        162.51 AT&T Cell Phone Plan                              162.51
    05/14/2015        255.10 Flight - to NJ for MCJ       Amount corresponding to
                             Amelior Foundation (gives    benefit that Mullaney
                             grants for mentoring and     received over and above
                             youth)                       reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/15/2015      1,364.20 Flight to SF                 Amount corresponding to
                                                          benefit that Mullaney
                                                          received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    05/17/2015      1,581.70 Donation - Chicago charity                     1,581.70
    05/20/2015        958.64 Langham Place - Mullaney                         958.64
                             weekly NY hotel
    05/20/2015         42.00 Parking Fees MA                                   42.00
    05/22/2015        304.00 Amtrak - Mullaney commute                        304.00

    05/25/2015         15.96 Boston Globe Subscription                         15.96
    05/27/2015        288.63 Langham Place - Mullaney                         288.63
                             weekly NY hotel
    05/27/2015         28.00 Parking Fees MA                                   28.00
    05/28/2015      1,050.00 Sightsailing                                   1,050.00
    06/01/2015      7,060.20 Flight - Boston to Dar es    Amount corresponding to
                             Salaam                       benefit that Mullaney
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                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.
    06/02/2015        108.73 Andronico's Community                                  108.73
                             Markets, wine, CA trip
    06/02/2015         15.99 Special service ticket, CA trip                        15.99

    06/03/2015        406.11 Dinah's Garden Hotel, CA trip     Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    06/03/2015        153.43 Hertz - rental car, CA,           Amount corresponding to
                             6/2/15- 6/3/15                    benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    06/04/2015         58.00   Parking Fees MA                                      58.00
    06/05/2015          3.00   Parking Fees MA                                       3.00
    06/05/2015         85.00   TSA Pre-Check Application                            85.00
    06/08/2015        105.11   Hertz - rental car, NJ to       Amount corresponding to
                               NY, 6/8/15                      benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    06/09/2015        368.36 Flight - NY to Boston,                                368.36
                             Mullaney
                             commute
    06/10/2015        609.95 Langham Place - Mullaney                              609.95
                             weekly NY hotel
    06/10/2015         87.00 Parking Fees MA                                        87.00
    06/11/2015         30.00 AT&T Cell Phone Plan                                   30.00
    06/11/2015         24.99 WSJ Subscription                                       24.99
    06/14/2015        163.88 AT&T Cell Phone Plan                                  163.88
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    06/22/2015         15.96 Boston Globe Subscription                     15.96
    07/04/2015        352.00 Amtrak - Mullaney commute                    352.00

    07/06/2015        234.73 230 Fifth - NY Restaurant,                   234.73
                             drinks
    07/06/2015         21.00 Amtrak - Mullaney commute                     21.00

    07/06/2015        429.09 Dos Caminos - NY Restaurant                  429.09

    07/07/2015        333.00 Langham Place - Mullaney                     333.00
                             weekly NY hotel
    07/08/2015        331.22 AT&T Cell Phone Plan                         331.22
    07/10/2015        326.00 Amtrak - Mullaney commute                    326.00

    07/11/2015         30.00 AT&T Cell Phone Plan                          30.00
    07/11/2015         24.99 WSJ Subscription                              24.99
    07/14/2015        334.74 Langham Place - Mullaney                     334.74
                             weekly NY hotel
    07/20/2015         27.72 Boston Globe Subscription                     27.72
    07/21/2015         58.90 Hudson News - Boston                          58.90
    07/21/2015         14.00 Parking Fees MA                               14.00
    07/22/2015        131.96 Newport Mansion Tours                        131.96
                             tickets, RI
    07/22/2015         36.88 Rite Aid, RI                                  36.88
    07/22/2015        507.12 The Clarke Cooke House, RI                   507.12
                             Restaurant
    07/23/2015         19.89 7-Eleven, RI                                  19.89
    07/23/2015        402.90 The Black Pearl Restaurant, RI               402.90

    07/23/2015         24.50 Sayer's Wharf                                 24.50
    07/24/2015          8.64 Castle Hill Inn, RI                            8.64
    07/24/2015         28.08 Castle Hill Inn, RI                           28.08
    07/24/2015        784.43 Castle Hill Inn, RI                          784.43
    07/29/2015         71.00 Cross Sound Ferry, New                        71.00
                             London, CT
    07/30/2015        284.63 Langham Place - Mullaney                     284.63
                             weekly NY hotel
    07/30/2015         50.00 Parking Fees NY                               50.00
    08/01/2015        216.00 Amtrak - Mullaney commute                    216.00

    08/06/2015         72.00 Parking Fees RI                               72.00
    08/06/2015        762.49 Langham Place - Mullaney                     762.49
                             weekly NY hotel
    08/08/2015        272.00 Amtrak - Mullaney commute                    272.00

    08/09/2015          3.00   Parking Fees MA                              3.00
    08/10/2015         30.00   AT&T Cell Phone Plan                        30.00
    08/10/2015        860.89   AT&T Cell Phone Plan                       860.89
    08/11/2015         24.99   WSJ Subscription                            24.99
    08/11/2015         40.00   Parking Fees RI                             40.00
    08/11/2015        371.98   Langham Place - Mullaney                   371.98
                               weekly NY hotel
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    08/12/2015        186.00 Amtrak - Mullaney commute                  186.00

    08/17/2015      1,000.00 Tickets (2) for Year Up Inc.          1,000.00
                             Gala
    08/18/2015         27.72 Boston Globe Subscription                   27.72
    08/19/2015         40.00 Parking Fees RI                             40.00
    08/19/2015         47.91 Langham Place - Mullaney                    47.91
                             weekly NY hotel
    08/19/2015        304.22 Langham Place - Mullaney                   304.22
                             weekly NY hotel
    08/20/2015        150.29 Hi-Time Wine Cellars                       150.29
    08/26/2015        288.63 Langham Place - Mullaney                   288.63
                             weekly NY hotel
    08/26/2015         28.00 Parking Fees MA                             28.00
    08/31/2015        265.00 Amtrak - Mullaney commute                  265.00

    09/01/2015         59.00 Amtrak - Mullaney commute                   59.00

    09/02/2015        285.00 Amtrak - Mullaney commute                  285.00

    09/02/2015        284.63 Langham Place - Mullaney                   284.63
                             weekly NY hotel
    09/02/2015         28.00 Parking Fees MA                             28.00
    09/07/2015        148.00 Amtrak - Mullaney commute                  148.00

    09/09/2015         30.00 AT&T Cell Phone Plan                        30.00
    09/10/2015        166.73 AT&T Cell Phone Plan                       166.73
    09/10/2015          6.53 Langham Place - Mullaney                     6.53
                             weekly NY hotel
    09/10/2015        659.47 Langham Place - Mullaney                   659.47
                             weekly NY hotel
    09/10/2015         42.00 Parking Fees MA                             42.00
    09/11/2015         24.99 WSJ Subscription                            24.99
    09/14/2015         27.72 Boston Globe Subscription                   27.72
    09/15/2015        324.00 Amtrak - Mullaney commute                  324.00

    09/15/2015      1,000.00 Donation - Year Up Inc. (at           1,000.00
                             gala)
    09/18/2015        288.63 Langham Place - Mullaney                   288.63
                             weekly NY hotel
    09/18/2015         28.00 Parking Fees MA                             28.00
    09/20/2015        113.00 Amtrak - Mullaney commute                  113.00

    09/21/2015         69.00 Amtrak - Mullaney commute                   69.00

    09/22/2015         39.99 Ship Sticks (golf club shipping)            39.99

    09/24/2015        631.52 Langham Place - Mullaney                   631.52
                             weekly NY hotel
    10/02/2015        403.26 Langham Place - Mullaney                   403.26
                             weekly NY hotel
    10/07/2015        577.26 Langham Place - Mullaney                   577.26
                             weekly NY hotel
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    10/13/2015        321.41 Langham Place - Mullaney                       321.41
                             weekly NY hotel
    10/20/2015        389.11 Langham Place - Mullaney                       389.11
                             weekly NY hotel
    10/31/2015          9.80 Langham Place - Mullaney                         9.80
                             weekly NY hotel
    10/31/2015        644.26 Langham Place - Mullaney                       644.26
                             weekly NY hotel
    11/03/2015        372.00 Amtrak - Mullaney commute                      372.00

    11/05/2015        489.28 Langham Place - Mullaney                       489.28
                             weekly NY hotel
    11/06/2015         40.00 Parking Fees MA                                  40.00
    11/08/2015         30.00 AT&T Cell Phone Plan                             30.00
    11/09/2015         27.72 Boston Globe Subscription                        27.72
    11/10/2015         68.63 AT&T Cell Phone Plan                             68.63
    11/11/2015         28.99 WSJ Subscription                                 28.99
    11/16/2015        128.24 Taxi - London               Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/16/2015         42.00 Parking Fees MA                                  42.00
    11/17/2015         28.00 Parking Fees MA                                  28.00
    11/18/2015      1,304.54 Corinthia Hotel - London    Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/18/2015         87.00 Parking Fees MA             Amount corresponding to
                                                         benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    11/21/2015          4.00 Amtrak - Mullaney commute                        4.00
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    11/21/2015        333.00 Amtrak - Mullaney commute                      333.00

    11/25/2015         28.00 Parking Fees MA                                 28.00
    11/25/2015        867.99 Langham Place - Mullaney                       867.99
                             weekly NY hotel
    11/29/2015        352.00 Amtrak - Mullaney commute                      352.00

    12/01/2015         44.00 Amtrak - Mullaney commute                       44.00

    12/02/2015         44.64 Langham Place - Mullaney                        44.64
                             weekly NY hotel
    12/02/2015        416.02 Langham Place - Mullaney                       416.02
                             weekly NY hotel
    12/04/2015        313.00 Amtrak - Mullaney commute                      313.00

    12/04/2015         38.00 Parking Fees MA                                 38.00
    12/07/2015        297.13 Frankie and Johnnies, NY                       297.13
                             restaurant
    12/07/2015         27.72 Boston Globe Subscription                       27.72
    12/08/2015         83.00 Amtrak - Mullaney commute                       83.00

    12/08/2015         30.00 AT&T Cell Phone Plan                            30.00
    12/09/2015      1,105.30 Langham Place - Mullaney                     1,105.30
                             weekly NY hotel
    12/10/2015        269.00 Amtrak - Mullaney commute                      269.00

    12/10/2015        193.13 AT&T Cell Phone Plan                           193.13
    12/11/2015         28.99 WSJ Subscription                                28.99
    12/16/2015        874.97 Langham Place - Mullaney                       874.97
                             weekly NY hotel
    12/16/2015         28.00 Parking fees MA                                  28.00
    12/17/2015      8,439.70 Flight - Boston to London   Amount corresponding to
                             to Zurich                   benefit that Mullaney
                                                         received over and above
                                                         reasonably equivalent
                                                         value to Debtor to be
                                                         determined by additional
                                                         discovery, including
                                                         expert discovery.


    12/18/2015        250.00 Amtrak - Mullaney commute                      250.00

    12/18/2015         42.00 Parking fees MA                                 42.00
    12/21/2015         19.00 Amtrak - Mullaney commute                       19.00

    12/22/2015        478.48 Langham Place - Mullaney                       478.48
                             weekly NY hotel
    12/22/2015         28.00 Parking fees MA                                 28.00
    12/23/2015         44.64 Langham Place - Mullaney                        44.64
                             weekly NY hotel
    01/03/2016        328.00 Amtrak - Mullaney commute                      328.00
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    01/05/2016         27.72 Boston Globe Subscription                          27.72
    01/06/2016      9,887.16 Flight - Boston to            Amount corresponding to
                             Harare, Zimbabwe              benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/07/2016         30.00 AT&T Cell Phone Plan                               30.00
    01/07/2016         38.11 Langham Place - Mullaney                           38.11
                             weekly NY hotel
    01/07/2016        307.59 Langham Place - Mullaney                          307.59
                             weekly NY hotel
    01/07/2016         28.00 Parking fees MA                                     28.00
    01/10/2016        152.36 AT&T Cell Phone Plan                               152.36
    01/11/2016        131.99 Taxi - London                 Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/11/2016         28.99 WSJ Subscription                                   28.99
    01/11/2016         10.00 Patrick McMullan Company                           10.00
                             - photo purchase from event

    01/11/2016         75.00 Taxi - from home to airport   Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    01/13/2016         63.26 Taxi - Zurich                 Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
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    01/13/2016      1,408.45 Corinthia Hotel - London       Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/13/2016        121.55 Taxi - London                  Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/14/2016         71.71 Taxi - Switzerland             Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/14/2016        437.71 Steigenberger Bellerive Au Lac Amount corresponding to
                             - hotel, Zurich                benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    01/15/2016        396.00 Amtrak - Mullaney commute                        396.00

    01/20/2016        307.59 Langham Place - Mullaney                         307.59
                             weekly NY hotel
    01/20/2016         28.00 Parking fees MA                                   28.00
    01/21/2016        230.00 Amtrak - Mullaney commute                        230.00

    01/22/2016        463.56 Cliffside Beach Club, hotel,                     463.56
                             Nantucket
    01/22/2016      2,764.59 Cliffside Beach Club, hotel,                   2,764.59
                             Nantucket
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    01/22/2016      3,518.55 Cliffside Beach Club, hotel,                    3,518.55
                             Nantucket
    01/27/2016        230.00 Amtrak - Mullaney commute                         230.00

    01/27/2016         54.44 Langham Place - Mullaney                           54.44
                             weekly NY hotel
    01/27/2016        809.70 Langham Place - Mullaney                          809.70
                             weekly NY hotel
    01/27/2016         42.00 Parking Fees MA                                    42.00
    02/01/2016         27.72 Boston Globe Subscription                          27.72
    02/05/2016        230.00 Amtrak - Mullaney commute                         230.00

    02/05/2016          9.80 Langham Place - Mullaney                            9.80
                             weekly NY hotel
    02/05/2016        311.59 Langham Place - Mullaney                          311.59
                             weekly NY hotel
    02/05/2016         28.00 Parking Fees MA                                    28.00
    02/06/2016         30.00 AT&T Cell Phone Plan                               30.00
    02/10/2016        318.34 AT&T Cell Phone Plan                              318.34
    02/10/2016        695.26 Langham Place - Mullaney                          695.26
                             weekly NY hotel
    02/10/2016        304.77 Resto, NY restaurant                              304.77
    02/10/2016         42.00 Parking Fees MA                                    42.00
    02/11/2016         28.99 WSJ Subscription                                   28.99
    02/12/2016        289.00 Amtrak - Mullaney commute                         289.00

    02/16/2016        373.90 Zuma, NY restaurant                               373.90
    02/17/2016        329.79 Frankie and Johnnies, NY                          329.79
                             restaurant
    02/18/2016         54.44 Langham Place - Mullaney                           54.44
                             weekly NY hotel
    02/18/2016        661.29 Langham Place - Mullaney                          661.29
                             weekly NY hotel
    02/18/2016         42.00 Parking Fees MA                                     42.00
    02/19/2016      1,914.10 Flight - NY to LA              Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    02/20/2016        250.00 Amtrak - Mullaney commute                         250.00

    02/22/2016        396.00 Amtrak - Mullaney commute                         396.00

    02/25/2016        230.00 Amtrak - Mullaney commute                         230.00

    02/25/2016          9.80 Langham Place - Mullaney                            9.80
                             weekly NY hotel
    02/25/2016        742.62 Langham Place - Mullaney                          742.62
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                             weekly NY hotel
    02/25/2016         42.00 Parking Fees MA                                       42.00
    02/26/2016         20.00 Amtrak - Mullaney commute                             20.00

    02/29/2016         27.72 Boston Globe Subscription                             27.72
    03/01/2016        390.09 Langham Place - Mullaney                             390.09
                             weekly NY hotel
    03/01/2016         28.00 Parking Fees MA                                        28.00
    03/04/2016      7,990.96 Flight - Boston to Lisbon (for                      7,990.96
                             Leadership Design Council
                             conference), to be refunded
                             by Mullaney
    03/06/2016        313.00 Amtrak - Mullaney commute                            313.00

    03/07/2016         30.00 AT&T Cell Phone Plan                                  30.00
    03/10/2016        165.91 AT&T Cell Phone Plan                                 165.91
    03/11/2016         28.99 WSJ Subscription                                      28.99
    03/11/2016      2,722.67 Langham Place - Mullaney         Amount equal to
                             weekly NY hotel (plus            Mullaney's stay.
                             BOD dinner)
    03/11/2016         56.00 Parking Fees MA                                       56.00
    03/13/2016        313.00 Amtrak - Mullaney commute                            313.00

    03/15/2016         40.84 Sir Harry's, NY Restaurant,                           40.84
                             drinks
    03/16/2016         20.00 Amtrak - Mullaney commute                             20.00

    03/16/2016          6.53 Langham Place - Mullaney                                6.53
                             weekly NY hotel
    03/16/2016        311.59 Langham Place - Mullaney                             311.59
                             weekly NY hotel
    03/16/2016         45.00 Parking Fees MA                                       45.00
    03/16/2016         28.00 Parking Fees MA                                       28.00
    03/28/2016         27.72 Boston Globe Subscription                             27.72
    03/30/2016        903.10 Flight - LA to Boston            Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
                                                              discovery, including
                                                              expert discovery.


    04/04/2016      2,000.00 BMCC Foundation Event                               2,000.00
                             Tickets (2)
    04/05/2016        644.10 Flight - NY to Houston           Amount corresponding to
                                                              benefit that Mullaney
                                                              received over and above
                                                              reasonably equivalent
                                                              value to Debtor to be
                                                              determined by additional
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                                                               discovery, including
                                                               expert discovery.
    04/05/2016        747.10 Flight - Houston to Boston        Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    04/06/2016         30.00 AT&T Cell Phone Plan                                 30.00
    04/06/2016        338.26 Sofitel, London, hotel, 1 night                     338.26

    04/08/2016         23.52 Jack Duggan's Pub,                                   23.52
                             Philadelphia airport lunch,
                             Lisbon trip
    04/08/2016        116.00 Parking Fees MA, Lisbon trip                        116.00

    04/10/2016        183.63 AT&T Cell Phone Plan                                183.63
    04/11/2016        174.00 Amtrak - Mullaney commute                           174.00

    04/11/2016         28.99 WSJ Subscription                                     28.99
    04/11/2016        109.10 Ritz Four Seasons, hotel,                           109.10
                             Lisbon
                             trip
    04/12/2016         53.55 Terra, NY restaurant                                 53.55
    04/13/2016        362.43 Langham Place - Mullaney                            362.43
                             weekly NY hotel
    04/17/2016        333.00 Amtrak - Mullaney commute                           333.00

    04/20/2016        699.82 Langham Place - Mullaney                            699.82
                             weekly NY hotel
    04/20/2016      1,317.10 Flight - LA to NY                 Amount corresponding to
                                                               benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.


    04/20/2016         42.00 Parking Fees MA                                      42.00
    04/22/2016        313.00 Amtrak - Mullaney commute                           313.00

    04/25/2016         27.72 Boston Globe Subscription                            27.72
    04/27/2016        738.52 Langham Place - Mullaney                            738.52
                             weekly NY hotel
    04/27/2016         42.00 Parking fees MA                                      42.00
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    04/30/2016        313.00 Amtrak - Mullaney commute                        313.00

    05/01/2016      3,878.21 Flight - Newark to North Bend, Amount corresponding to
                             Indiana, to Portland, to       benefit that Mullaney
                             Seattle                        received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    05/02/2016         20.00 Amtrak - Mullaney commute                         20.00

    05/03/2016         39.00 Amtrak - Mullaney commute                         39.00

    05/04/2016        400.43 Langham Place - Mullaney                         400.43
                             weekly NY hotel
    05/04/2016         28.00 Parking fees MA                                    28.00
    05/06/2016         30.00 AT&T Cell Phone Plan                               30.00
    05/09/2016        359.62 Balboa Bay Resort Club,       Amount corresponding to
                             Newport Beach, CA, 1          benefit that Mullaney
                             night                         received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    05/10/2016        234.02 AT&T Cell Phone Plan                             234.02
    05/11/2016        231.10 Flight - NY to Boston,                           231.10
                             Mullaney
                             commute
    05/11/2016        207.00 Flight - NY to Boston,                           207.00
                             Mullaney
                             commute
    05/11/2016         28.99 WSJ Subscription                                   28.99
    05/11/2016      1,039.76 Hertz, rental car, LA,        Amount corresponding to
                             5/8/16- 5/11/16               benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery, and
                                                           excluding $200 credit.


    05/11/2016      2,106.28 Peninsula Beverly Hills, hotel, Amount corresponding to
                             2 nights                        benefit that Mullaney
                                                             received over and above
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                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.
    05/12/2016          3.00 Parking fees MA                                     3.00
    05/14/2016         38.11 Langham Place - Mullaney                           38.11
                             weekly NY hotel
    05/14/2016         50.08 Langham Place - Mullaney                          50.08
                             weekly NY hotel
    05/14/2016        473.69 Langham Place - Mullaney                         473.69
                             weekly NY hotel
    05/15/2016        200.00 Flight - Boston to            Amount corresponding to
                             Seattle, update for ticket    benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    05/17/2016         60.00 Adam Tarniowy, photographer                       60.00

    05/17/2016        446.12 The Langham Chicago, hotel,   Amount corresponding to
                             1 night                       benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    05/18/2016         69.13 The Langham Chicago, hotel    Amount corresponding to
                                                           benefit that Mullaney
                                                           received over and above
                                                           reasonably equivalent
                                                           value to Debtor to be
                                                           determined by additional
                                                           discovery, including
                                                           expert discovery.


    05/23/2016         27.72 Boston Globe Subscription                         27.72
    05/24/2016        307.59 Langham Place - Mullaney                         307.59
                             weekly NY hotel
    05/31/2016        396.00 Amtrak - Mullaney commute                        396.00

    06/02/2016         38.11 Langham Place - Mullaney                          38.11
                             weekly NY hotel
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    06/02/2016        379.11 Langham Place - Mullaney                   379.11
                             weekly NY hotel
    06/02/2016         28.00 Parking Fees MA                             28.00
    06/03/2016        333.00 Amtrak - Mullaney commute                  333.00

    06/05/2016         30.00 AT&T Cell Phone Plan                        30.00
    06/07/2016        307.59 Langham Place - Mullaney                   307.59
                             weekly NY hotel
    06/07/2016         28.00 Parking Fees MA                             28.00
    06/10/2016        162.61 AT&T Cell Phone Plan                       162.61
    06/11/2016         28.99 WSJ Subscription                            28.99
    06/12/2016         51.01 Madison Bistro, NY restaurant               51.01

    06/13/2016        205.10 Langham Place - Mullaney                   205.10
                             weekly NY hotel
    06/14/2016         38.11 Langham Place - Mullaney                    38.11
                             weekly NY hotel
    06/14/2016        615.18 Langham Place - Mullaney                   615.18
                             weekly NY hotel
    06/20/2016         27.72 Boston Globe Subscription                   27.72
    06/23/2016        106.00 Amtrak - Mullaney commute                  106.00

    06/23/2016        190.00 Amtrak - Mullaney commute                  190.00

    06/23/2016         83.84 LaDuree                                     83.84
    06/25/2016        301.99 The Back Eddy Restaurant,                  301.99
                             Westport, MA restaurant
    06/27/2016         77.06 Madison Bistro, NY restaurant               77.06

    06/28/2016        307.59 Langham Place - Mullaney                   307.59
                             weekly NY hotel
    06/28/2016         18.50 Amtrak - Mullaney commute                   18.50

    07/05/2016         30.00 AT&T Cell Phone Plan                        30.00
    07/08/2016         51.19 Langham Place - Mullaney                    51.19
                             weekly NY hotel
    07/08/2016        615.18 Langham Place - Mullaney                   615.18
                             weekly NY hotel
    07/08/2016         80.00 Parking Fees MA                             80.00
    07/09/2016        198.00 Flight - New Bedford to                    198.00
                             Nantucket, Mullaney's wife
    07/09/2016        198.00 Flight - New Bedford to                    198.00
                             Nantucket
    07/10/2016        242.66 AT&T Cell Phone Plan                       242.66
    07/11/2016         28.99 WSJ Subscription                            28.99
    07/13/2016        239.00 Amtrak - Mullaney commute                  239.00

    07/13/2016        338.00 Amtrak - Mullaney commute                  338.00

    07/14/2016        139.99 Flight - Nantucket to Boston               139.99

    07/14/2016        139.99 Flight - Nantucket to Boston,              139.99
                             Mullaney's wife
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    07/15/2016          7.62 Langham Place - Mullaney                       7.62
                             weekly NY hotel
    07/15/2016        528.77 Langham Place - Mullaney                     528.77
                             weekly NY hotel
    07/15/2016         18.50 Amtrak - Mullaney commute                     18.50

    07/18/2016        296.00 Amtrak - Mullaney commute                    296.00

    07/18/2016         27.72 Boston Globe Subscription                     27.72
    07/21/2016         42.47 Langham Place - Mullaney                      42.47
                             weekly NY hotel
    07/21/2016        307.59 Langham Place - Mullaney                     307.59
                             weekly NY hotel
    07/21/2016         18.50 Amtrak - Mullaney commute                     18.50

    07/24/2016         20.01 Flight - Nantucket to Boston                  20.01

    07/24/2016         20.01 Flight - Nantucket to Boston,                 20.01
                             Mullaney's wife
    07/25/2016        220.00 Amtrak - Mullaney commute                    220.00

    07/25/2016         52.00 Breezin Up, Nantucket                         52.00
                             restaurant
    07/25/2016        593.27 The Galley Restaurant,                       593.27
                             Nantucket
    07/26/2016        450.59 Cru Oyster Bar, Nantucket                 450.59
    07/27/2016      1,200.00 Endeavor Sailing, Nantucket             1,200.00

    07/27/2016         95.60 The Galley Restaurant,                        95.60
                             Nantucket
    07/27/2016        476.25 The Galley Restaurant,                       476.25
                             Nantucket
    07/28/2016        162.48 Cliffside Beach Club, hotel,                 162.48
                             Nantucket
    07/28/2016      1,671.00 Hertz, rental car,                      1,671.00
                             Nantucket,
                             7/25/16-7/28/16
    07/28/2016        112.00 Parking Fees MA                              112.00
    08/04/2016         30.00 AT&T Cell Phone Plan                          30.00
    08/10/2016        334.00 Amtrak - Mullaney commute                    334.00

    08/10/2016        184.38   AT&T Cell Phone Plan                       184.38
    08/11/2016         28.99   WSJ Subscription                            28.99
    08/15/2016         27.72   Boston Globe Subscription                   27.72
    08/16/2016         10.88   Langham Place - Mullaney                    10.88
                               weekly NY hotel
    08/16/2016        307.59   Langham Place - Mullaney                   307.59
                               weekly NY hotel
    08/16/2016         18.50   Parking Fees RI                             18.50
    08/22/2016        149.94   B&H Photo, computer                        149.94
                               equipment
    08/22/2016        477.74   Zuma, NY Restaurant                        477.74
    08/23/2016         44.00   Parking Fees RI                             44.00
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    08/23/2016         57.71 Langham Place - Mullaney                              57.71
                             weekly NY hotel
    08/23/2016        307.59 Langham Place - Mullaney                             307.59
                             weekly NY hotel
    09/01/2016        333.00 Amtrak - Mullaney commute                            333.00

    09/03/2016         30.00 AT&T Cell Phone Plan                                  30.00
    09/07/2016        116.90 The Australian, NY restaurant                        116.90

    09/09/2016        110.07 Budget, rental car, 9/8/16-                          110.07
                             9/9/16, NY, Cullen funeral
    09/09/2016         42.47 Langham Place, Mullaney                               42.47
                             weekly NY hotel
    09/09/2016        679.42 Langham Place, Mullaney                              679.42
                             weekly NY hotel
    09/09/2016         42.00 Parking Fees MA                                       42.00
    09/10/2016        166.23 AT&T Cell Phone Plan                                 166.23
    09/11/2016        372.00 Amtrak - Mullaney commute                            372.00

    09/11/2016         28.99 WSJ Subscription                                      28.99
    09/12/2016         27.72 Boston Globe Subscription                             27.72
    09/12/2016        743.20 Flight - Boston to Philadelphia                      743.20

    09/14/2016        307.59 Langham Place, Mullaney                           307.59
                             weekly NY hotel
    09/14/2016         28.00 Parking Fees MA                                    28.00
    09/27/2016         56.63 Langham Place - Mullaney                           56.63
                             weekly NY hotel
    09/27/2016        307.59 Langham Place - Mullaney                          307.59
                             weekly NY hotel
    09/27/2016         22.00 Parking Fees DC                                    22.00
    09/28/2016        239.31 Hertz, rental car,           Amount corresponding to
                             9/27/16-9/28- 16, rented and benefit that Mullaney
                             returned in DC               received over and above
                                                          reasonably equivalent
                                                          value to Debtor to be
                                                          determined by additional
                                                          discovery, including
                                                          expert discovery.


    09/28/2016         80.00 Parking Fees MA                                        80.00
    10/02/2016        934.26 Hertz, rental car,                Amount corresponding to
                             9/30/16- 10/2/16                  benefit that Mullaney
                                                               received over and above
                                                               reasonably equivalent
                                                               value to Debtor to be
                                                               determined by additional
                                                               discovery, including
                                                               expert discovery.
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    10/03/2016         30.00 AT&T Cell Phone Plan                               30.00
    10/04/2016        314.00 Amtrak - Mullaney commute                         314.00

    10/05/2016        473.00 Flight to Philadelphia, Pine                      473.00
                             Valley Trip
    10/06/2016         80.00 Parking Fees MA, Pine Valley                       80.00
                             Trip
    10/10/2016        162.85 AT&T Cell Phone Plan                              162.85
    10/10/2016         27.72 Boston Globe Subscription                          27.72
    10/10/2016         53.00 Parking Fees NY                                    53.00
    10/11/2016         28.99 WSJ Subscription                                   28.99
    10/12/2016          4.36 Langham Place - Mullaney                            4.36
                             weekly NY hotel
    10/12/2016      1,585.52 Langham Place - Mullaney                        1,585.52
                             weekly NY hotel
    10/12/2016        104.00 Parking Fees NY                                   104.00
    10/15/2016        253.00 Amtrak - Mullaney commute                         253.00

    10/18/2016         42.47 Langham Place - Mullaney                           42.47
                             weekly NY hotel
    10/18/2016        422.33 Langham Place - Mullaney                          422.33
                             weekly NY hotel
    10/18/2016         28.00 Parking Fees MA                                     28.00
    10/20/2016      4,469.36 Flight - Boston to Dhaka       Amount corresponding to
                                                            benefit that Mullaney
                                                            received over and above
                                                            reasonably equivalent
                                                            value to Debtor to be
                                                            determined by additional
                                                            discovery, including
                                                            expert discovery.


    10/20/2016      4,469.36 Flight - Boston to Dhaka,                       4,469.36
                             Mullaney's wife
    10/20/2016      4,469.36 Flight - Boston to Dhaka,                       4,469.36
                             Mullaney's daughter
    10/20/2016         47.78 Flight fees, Mullaney's wife                       47.78

    10/20/2016         47.78 Flight fees, Mullaney's                            47.78
                             daughter
    10/23/2016        232.00 Amtrak - Mullaney commute                         232.00

    10/25/2016      3,613.95 Adorama, Inc. - camera                          3,613.95
    10/25/2016        495.75 Flight - NY to Boston,                            495.75
                             Mullaney
                             commute
    10/26/2016         46.83 Langham Place - Mullaney                           46.83
                             weekly NY hotel
    10/26/2016        892.57 Langham Place - Mullaney          777.91 ($892.57 minus
                             weekly NY hotel                          $114.66 credit)
    10/26/2016         42.00 Langham Place - Mullaney                          42.00
                             weekly NY hotel
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    10/28/2016        400.00 Amtrak - Mullaney commute                   400.00

    11/01/2016         95.57 Dock's Oyster Bar, NY                        95.57
                             restaurant
    11/02/2016         30.00 AT&T Cell Phone Plan                         30.00
    11/02/2016         13.07 Langham Place - Mullaney                     13.07
                             weekly NY hotel
    11/02/2016        777.91 Langham Place - Mullaney                    777.91
                             weekly NY hotel
    11/02/2016         42.00 Parking Fees MA                              42.00
    11/04/2016        960.00 Passport Plus Visas - visas for             960.00
                             Mullaney and family
    11/07/2016         27.72 Boston Globe Subscription                    27.72
    11/08/2016        400.00 Amtrak - Mullaney commute                   400.00

    11/10/2016        192.78 AT&T Cell Phone Plan                        192.78
    11/10/2016          4.36 Langham Place - Mullaney                      4.36
                             weekly NY hotel
    11/10/2016         38.11 Langham Place - Mullaney                     38.11
                             weekly NY hotel
    11/10/2016        365.00 Langham Place - Mullaney                    365.00
                             weekly NY hotel
    11/10/2016         28.00 Parking Fees MA                              28.00
    11/10/2016         29.79 UPS Store, Belmont, MA                       29.79
    11/11/2016         28.99 WSJ Subscription                             28.99
    11/13/2016        377.00 Amtrak - Mullaney commute                   377.00

    11/16/2016         42.47 Langham Place - Mullaney                     42.47
                             weekly NY hotel
    11/16/2016        365.00 Langham Place - Mullaney                    365.00
                             weekly NY hotel
    11/16/2016         28.00 Parking Fees MA                           28.00
    11/23/2016      4,779.18 Apple Online Store - new               4,779.18
                             computer
    11/23/2016         67.01 Taxi - NY                                    67.01
    11/24/2016         25.92 Taxi - NY                                    25.92
    11/24/2016         57.73 Taxi - NY                                    57.73
    11/29/2016        400.00 Flight - Dhaka to Boston,                   400.00
                             change fee for
                             Mullaney's daughter
    11/29/2016        400.00 Flight - Dhaka to Boston,                   400.00
                             change fee
    11/29/2016        400.00 Flight - Dhaka to Boston,                   400.00
                             change fee for Mullaney's
                             wife
    11/30/2016        101.38 Sonargaon Hotel, Bangladesh                 101.38
                             trip
    11/30/2016      1,009.46 Sonargaon Hotel, Bangladesh            1,009.46
                             trip
    12/01/2016        316.00 Amtrak - Mullaney commute                   316.00

    12/02/2016         30.00 AT&T Cell Phone Plan                         30.00
    12/02/2016        714.80 Hotel Grand Park Baris,                     714.80
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                             Bangladesh trip
    12/02/2016        296.70 Le Meridien Dhaka,                           296.70
                             Bangladesh
                             trip
    12/02/2016        629.17 Le Meridien Dhaka,                           629.17
                             Bangladesh
                             trip
    12/04/2016         74.36 Best Buy, Watertown, MA -                     74.36
                             computer equipment
    12/05/2016         27.72 Boston Globe Subscription                     27.72
    12/06/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/06/2016         28.00 Parking fees MA                               28.00
    12/09/2016        357.00 Amtrak - Mullaney commute                    357.00

    12/10/2016         20.00 Amtrak - Mullaney commute                     20.00

    12/10/2016        177.78 AT&T Cell Phone Plan                         177.78
    12/11/2016         28.99 WSJ Subscription                              28.99
    12/13/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/15/2016        149.81 Apple Store, Burlington, MA -                149.81
                             computer equipment
    12/16/2016         40.03 A I Friedman - frame for donor                40.03
                             tribute
    12/16/2016        349.00 Apple Online Store - computer                349.00
                             equipment
    12/18/2016        400.00 Amtrak - Mullaney commute                    400.00

    12/20/2016         59.88 Langham Place - Mullaney                      59.88
                             weekly NY hotel
    12/20/2016        365.00 Langham Place - Mullaney                     365.00
                             weekly NY hotel
    12/20/2016         28.00 Parking fees MA                               28.00
    12/23/2016        104.13 Apple Store, Burlington, MA -                104.13
                             computer equipment
    Total                                                          260,971.10



    TOTAL FOR ALL CATEGORIES                   $597,756.11
